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                   EXHIBIT 4
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                                     In The

United States Court Of Appeals
            For The Federal Circuit
                PUREPREDICTIVE, INC.,
                                                                  Plaintiff – Appellant,

                                          v.

                             H2O.AI, INC.,
                                                                  Defendant – Appellee.



     O N A PPEAL F ROM T HE U NITED S TATES D ISTRI CT C O URT FOR THE
   N ORTHERN D I STRICT OF C ALIFORNI A , C ASE N O . 3:17- CV -03049-WHO


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                        BRIEF OF APPELLANT
                                 _____________


Perry S. Clegg
R. Jeremy Adamson
KUNZLER, PC
50 W. Broadway
Suite 1000
Salt Lake City, UT 84101
(801) 994-4646

Counsel for Appellant
 PurePredictive, Inc.

                           GibsonMOORE APPELLATE SERVICES, LLC
           206 East Cary Street ♦ P.O. Box 1460 (23218) ♦ Richmond, VA   23219
                           804-249-7770 ♦ www.gibsonmoore.net
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                           CERTIFICATE OF INTEREST

                    2017-2544 PurePredictive, Inc. v. H2O.AI, Inc.

  Counsel for Appellant PurePredictive, Inc. certifies the following:

        1.     The full name of the party represented by me is: PurePredictive, Inc.

        2.     The name of the real party in interest (if the party named in the caption

  is not the real party in interest) represented by me is: None

        3.     All parent corporations and publicly held companies that own 10 percent

  or more of the stock of the party or amicus curiae represented by me are: None

        4.     The names of all law firms and the partners or associates that appeared for

  the party or amicus curiae now represented by me in the trial court or agency or are

  expected to appear in this court (and who have not or will not enter an appearance in

  this case) are: Robert Gempeler. Please note that Kunzler Law Group is now

  Kunzler, P.C.

        5.     The title and number of any case known to counsel to be pending in this

  or any other court or agency that will directly affect or be directly affected by this

  court’s decision in the pending appeal. None

  Dated: November 3, 2017          Respectfully submitted,

                                   By:    /s/ Perry S. Clegg
                                          Perry S. Clegg
                                          R. Jeremy Adamson

                                          Counsel for Appellant PurePredictive, Inc.


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                      STATEMENT OF RELATED CASES

         Pursuant to Federal Circuit Rule 47.5, counsel for Plaintiff-Appellant

PurePredictive, Inc. states:

         1.   There are no, nor have there been, any other appeals in or from this

same civil action or proceeding in the lower court before this or any other appellate

court.

         2.   The patent-in-suit is not the subject of any inter partes review

proceeding.

         3.   There are no, nor have there been, any case known to counsel to be

pending in this or any other court that will directly affect or be directly affected by

this court’s decision in the pending appeal.




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                      STATEMENT OF JURISDICTION

      The district court had jurisdiction under 28 U.S.C. §§ 1331 and 1338.

PurePredictive appealed from the final judgment entered on August 30, 2017. (Joint

Appendix (“Appx”) Appx1; Appx226-227). This Court has jurisdiction under 28

U.S.C. § 1295.

                           STATEMENT OF ISSUES

      1.      Whether the district court legally erred in holding that independent

claims 1, 14, 17, and 23 were merely “directed to the abstract concept of the

manipulation of mathematical functions and make use of computers only as tools,

rather than provide a specific improvement on a computer-related technology.”

      2.     Whether the district court legally erred by not imposing a “clear and

convincing” standard of proof of invalidity under 35 U.S.C. § 282 when finding the

patent claims invalid under 35 U.S.C. § 101.

      3.     Whether the district court legally erred by dismissing the Complaint

without independently considering the validity of any of the dependent claims of the

patent-in-suit.

                            STATEMENT OF CASE

      This appeal involves U.S. Patent No. 8.880,446 (“the ‘446 Patent”). (Appx14-

36) The patent relates to the application of machine learning to predictive analytics

data processing technology. More specifically is relates to generating improved


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predictive ensembles for processing predictive analytics data. The patent provides

for predictive ensembles having greater confidence metrics, reduced noise,

optimized overhead, and greater effectiveness and efficiency. The claimed

predictive ensemble includes a structured environment that defines relationships

between subsets of workload data and different subsets of learned functions in an

array of combined learned functions. The claimed technology is necessarily rooted

in computer technology and overcomes problems arising in the realm of computer

networks.

      PurePredictive filed suit on May 27, 2017, accusing H20.AI Inc.’s machine

learning platform of infringing “one or more claims” of the ‘446 Patent”.

(Appx48:11, Appx14-36) H20.AI filed a motion to dismiss under Rule 12(b)(6),

Fed. R. Civ. P., on June 14, 2017 relying solely on intrinsic evidence. (Appx122-

135) No extrinsic evidence was proffered as proof of invalidity of the asserted

claims. (Id.) The district court granted the motion to dismiss on August 29, 2017

without the benefit of a Markman hearing or any discovery related to claim

construction. The district court accepted as true defendant’s conclusory explanations

regarding the alleged ineligibility of the claims under § 101. (Appx2-13).

PurePredictive appeals from the district court’s dismissal order holding the ‘446

Patent claims invalid under § 101.




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      Statement of The Facts

      A.     Background

      PurePredictive is a technology-based service company that provides advanced

analytics services using predictive ensembles constructed using artificial

intelligence (e.g., machine learning). (Appx47:15-17; Appx24, 1:49-53, 1:59-62,

2:4-7, 2:16-19; Appx26, 6:25-29) The ‘446 Patent is vital for protecting

PurePredictive’s   proprietary predictive-analytics    technology,    including   its

proprietary predictive analytics factory technology that uses machine-learning to

generate unique and highly effective predictive ensembles. (Appx24, 1:49-52;

Appx26:25-29, Exhibit A to Appellant-Plaintiff’s Motion for Judicial Notice (“Mot.

for Judicial Notice”) 18:¶ 1, 74:¶ 8, 81:¶ 1, 83:¶ 6) PurePredictive’s predictive

ensembles are not mathematical formulations. They are structured environments

that define relationships between classes or subsets of workload data and

different combined learned functions within an arrangement of learned functions

within the predictive ensemble.

      B.     PurePredictive’s patent-in-suit

      The invention claimed in the ‘446 Patent provides for an improved predictive

ensemble that makes possible the processing of different subsets of data by different

synthesized learned functions within the predictive ensemble. The claimed

technology is necessarily rooted in computer technology and overcomes problems


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arising in the realm of computer networks. As disclosed in the ‘446 Patent, a

predictive analytics factory uses machine learning to produce these unique predictive

ensembles. The predictive ensembles of the ‘446 Patent process workload data “to

obtain a result, such as a classification, a confidence metric, an inferred function, a

regression function, an answer, a prediction, a recognized pattern, a rule, a

recommendation, or the like.” (Appx27, 8:19-23; Appx32, 18:13-17)

      But a predictive ensemble, as described in the ‘446 Patent, is not a math

formula. FIG. 3 of the patent-in-suit, shown below, illustrates a representative

predictive analytics module having a predictive ensemble as taught by the ‘446

Patent.




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      Notably, the predictive ensemble is an assembly or “structure” comprised of

(i) an orchestration module, (ii) a synthesized metadata rule set, and (iii) an

arrangement of learned functions that together organize the workload and/or



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workflow for processing of workload data performed by the array of learned

functions. (Appx18; Appx19; Appx28, 10:57-59; Appx29, 11:41-44).

      As described in the ‘446 Patent (col. 18, ll. 23-28):

      the synthesized metadata rule set 322 comprises a set of rules or
      conditions from the evaluation metadata of the metadata library 314
      that indicate to the orchestration module 320 which features, instances,
      or the like should be directed to which synthesized learned function
      324.

(Appx32, 18:23-28)

      The synthesized metadata rule set is generated using a synthesizer module. As

described in the ‘446 Patent (col. 18, ll. 33-39):

      The synthesizer module 310 may use that evaluation metadata to
      determine rules for the synthesized metadata rule set 322, indicating
      which features, which instances, or the like the orchestration module
      320 the orchestration module 320 [sic] should direct through which
      learned functions, in which order, or the like.

(Appx32, 18:33-39)

      Thus, the synthesized metadata rule set defines the direction of flow for the

workload data and dictates the division of work load among learned functions. The

orchestration module implements the metadata rules set and directs the flow of

workload data for analytics processing to the appropriate learned functions

depending on the class or subset of data.

      As described in the ‘446 Patent (col. 18, ll. 11-22):

      The orchestration module 320 . . . is configured to direct workload data
      through the predictive ensemble 304 . . . [and] uses evaluation metadata

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      from the function evaluator module 312 and/or the metadata library
      314, such as the synthesized metadata rule set 322, to determine how to
      direct workload data through the synthesized learned functions 324 of
      the predictive ensemble 304.

(Appx32, 18:11-22)

      FIG. 5 of the ‘446 Patent, below, illustrates representative arrangements of

learned functions in a predictive ensemble as disclosed in the patent-in-suit.




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      As shown in FIG. 5 and described in the patent (col. 20, ll. 54-62), the set of

learned functions may include:

      different classes [of learned functions] including a collection of
      decision trees 502a, configured to receive or process a subset A-F of
      the feature set of the predictive ensemble 304, a collection of support
      vector machines ("SVMs") 502b with certain kernels and with an input


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      space configured with particular subsets of the feature set G-L, and a
      selected group of regression models 502c, here depicted as a suite of
      single layer ("SL") neural nets trained on certain feature sets K-N.

(Appx33, 20:54-62)

      The learned functions of the predictive ensemble are not merely a collection

of the fastest possible functions selected by the predictive analytics factory. Instead

they are a structured arrangement of learned functions where different subsets of

workload data may be assigned to different learned functions within the predictive

ensemble. The data processing workload structure (e.g., which class or subset of data

is directed to which learned function) is dictated by the synthesized metadata rules

set and implemented by the orchestration module.

      Likewise, the combined learned functions are not merely an assembly line of

learned functions, such as a voting system. In analytics voting systems, each function

is given the same data for processing. The results from each function are tallied to

produce an overall predictive result. For example, in a group of 100 learned

functions, each of the functions would be given the same data to process. If 55 of the

functions predicted “yes” and 45 of the functions predicted “no”, then the overall

predictive “vote” would be “yes.”

      The data processing structure taught by the ‘446 Patent is an improvement

over predictive voting systems. Where a predictive voting system is linear in nature,

the ‘446 predictive ensemble is more of a three-dimensional arrangement. Indeed,


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the distinction was specifically discussed during the ‘446 Patent prosecution. In an

April 8, 2014 Office Action, the Patent Office rejected some of the claims as being

unpatentable under 35 U.S.C. § 103(a) in view of US 2008/0162487 A1 by Richter

(“Richter”). (Exhibit A to Mot. For Judicial Notice, 42:¶ 6) But Richter taught an

ensemble having a voting system. In a June 11, 2014 After Final Amendment and

Response to Office Action (pgs. 15-16), the ‘446 Patent applicant stated:

      The present amendments clarify that the synthesized rule set directs
      data such that different learned functions of the ensemble process
      different subsets of the data, such as different features/columns of data,
      different rows/instances of data, or both. For example, Fig. 5 of the
      Application depicts one embodiment of a predictive ensemble where
      different learned functions (e.g., learned functions 502, combined
      learned functions 504, and extended learned functions 506) process
      different subsets of data (e.g., different features/columns of data
      rows/instances, Features A-F, Features G-L, Features K-N, Features N-
      S, Features T-U, Features L-R). The ensemble methods mentioned in
      Fig. 13 of Richter, however, "voting," "average," "weighted average,"
      and "hueristic rules" [sic.] do not distinguish between learned functions,
      with all learned functions processing all data. Richter does not teach
      any synthesized rules for directing data through multiple learned
      functions of an ensemble so that different learned functions process
      different subsets of the data.

(Exhibit A to Mot. For Judicial Notice, 75-76: ¶ 11)

      The distinction between the ‘446 predictive ensemble and a voting system

reflects a significant improvement in predictive analytics data processing

technology. The division of workload data-processing labor by the predictive

ensemble of the ‘446 Patent, contrasted with other predictive analytics modules that

employ concurrent processing of the same data by each learned function, has a

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number of advantages. Predictive analytics data will get processed quicker. Less

power will be required to process the data. And classes or subsets of workload data

will get processed by the learned functions most suited for the data. The method

taught by the patent-in-suit for generating predictive ensembles makes these

improved predictive ensembles and advantages possible. FIG. 4 of the ‘446 Patent,

shown below, illustrates the relationship between the predictive ensemble and the

claimed predictive analytics factory.




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      The predictive analytics factory taught by the ‘446 Patent employs an intricate

process for producing the claimed predictive ensembles. The method for forming the

predictive ensemble does not merely mass produce learned functions and test to see



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which ones are fastest. Even though numerous learned functions are generated at the

early stages, significant changes are made during the process that improve the

learned functions and the predictive ensemble when the learned functions are

combined with the synthesized metadata rules set as reflected in FIG. 7 (below) of

the ‘446 Patent.




      After evaluation of pseudo-randomly generated learned functions for

suitability and effectiveness, the selected learned functions are combined based on

evaluation metadata, then the combined learned functions are evaluated again in

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combination and additional evaluation metadata is generated. (Appx34, 21:37-39;

Appx22) Combined learned functions are then extended. For example, as described

in the ‘446 specification:

      the predictive compiler module 206 includes an extender module 308.
      The extender module 308, in certain embodiments, is configured to add
      one or more layers to a learned function. For example, the extender
      module 308 may extend a learned function or combined learned
      function by adding a probabilistic model layer, such as a Bayesian
      belief network layer, a Bayes classifier layer, a Boltzmann layer, or the
      like.

(Appx31, 15:1-8)

      Component class extended learned functions 506, extended by the
      extender module 308 or the like, include a set of extended functions
      such as a forest of trees 506a with tree decisions at the roots and various
      margin classifiers along the branches, which have been extended with
      a layer of Boltzmann type Bayesian probabilistic classifiers. Extended
      learned function 506b includes a tree with various regression decisions
      at the roots, a combination of standard tree 504b and regression
      decision tree 504c and the branches are extended by a Bayes classifier
      layer trained with a particular training set exclusive of those used to
      train the nodes.

(Appx34, 21:6-16)

      Subsets of combined and extended learned functions are then configured to

process or predict against different features (e.g., “combined and extended function

806 configured for features A-F or in the other case a different, parallel combined

function 808 configured to predict against a feature set G-M” (Appx34, 22:30-31)).

      The combined and extended learned functions are then organized into the

predictive ensemble with metadata and a synthesized metadata rule set to define the

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relationship among different combined learned function and the features and/or data

subsets to be directed to the different learned functions within the predictive

ensemble. As described in the ‘446 specification:

      the predictive compiler module 206 includes a synthesizer module 310.
      The synthesizer module 310 . . . is configured to organize a subset of
      learned functions into the predictive ensemble 304, as synthesized
      learned functions 324. In a further embodiment, the synthesizer module
      310 includes evaluation metadata from the metadata library 314 of the
      function evaluator module 312 in the predictive ensemble 304 as a
      synthesized metadata rule set 322, so that the predictive ensemble 304
      includes synthesized learned functions 324 and evaluation metadata,
      the synthesized metadata rule set 322, for the synthesized learned
      functions 324.

      The learned functions that the synthesizer module 310 synthesizes or
      organizes into the synthesized learned functions 324 of the predictive
      ensemble 304, may include . . . combined learned functions from the
      combiner module 306, extended learned functions from the extender
      module 308, combined extended learned functions, or the like.

(Appx31, 15:46-64).

      The method for producing predictive ensembles described in the ‘446

specification provides improved predictive ensembles. By way of few examples, the

method of the ’446 Patent provides for: (i) reduction of noise within the predictive

ensemble; (ii) optimization of predictive ensemble overhead (e.g., size (number of

functions) and complexity); and (iii) increased or optimizes confidence metrics.

(Appx29, 12:55-59; Appx29, 11:45-60; Appx30, 13:19-27; Appx30, 13:35-39;

Appx30, 14:9-25). These improvements to the ‘446 predictive ensembles are

described in the ‘446 specification.

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      For example, the ‘446 specification describes how the invention reduces noise

from predictive ensembles:

      [O]nce the feature selector module 302 determines that a feature is
      merely introducing noise, the predictive compiler module 206 excludes
      the feature from future iterations, and from the predictive ensemble
      304.

(Appx29, 12:55-59)

      The ‘446 specification also describes how the invention optimizes the

overhead of predictive ensembles:

      the feature selector module 302 determines which features of
      initialization data to use in the predictive ensemble 304, and in the
      associated learned functions, and/or which features of the initialization
      data to exclude from the predictive ensemble 304, and from the
      associated learned functions. . . .
      Certain features may be more predictive than others, and the more
      features that the predictive compiler module 206 processes and includes
      in the generated predictive ensemble 304, the more processing
      overhead used by the predictive compiler module 206, and the more
      complex the generated predictive ensemble 304 becomes.

(Appx29, 11:45-60)

      The ‘446 specification also describes how the invention improves or

optimizes confidence metrics as follows:

      the predictive correlation module 318 determines one or more features,
      instances of features, or the like that correlate with higher confidence
      metrics (e.g., that are most effective in predicting results with high
      confidence). The predictive correlation module 318 may cooperate
      with, be integrated with, or otherwise work in concert with the feature
      selector module 302 to determine one or more features, instances of
      features, or the like that correlate with higher confidence metrics.



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(Appx30, 13:19-27)

      The predictive correlation module 318 . . . is configured to harvest
      metadata regarding which features correlate to higher confidence
      metrics, to determine which feature was predictive of which outcome
      or result, or the like.

(Appx30, 13:35-39)

      In determining features that are predictive, or that have a greatest
      contribution to a predicted result or confidence metric, the predictive
      correlation module 318 may balance a frequency of the contribution of
      a feature and/or an impact of the contribution of the feature. For
      example, a certain feature or set of features may contribute to the
      predicted result or confidence metric frequently, for each instance or
      the like, but have a low impact. Another feature or set of features may
      contribute relatively infrequently, but has a very high impact on the
      predicted result or confidence metric (e.g. provides at or near 100%
      confidence or the like). While the predictive correlation module 318 is
      described herein as determining features that are predictive or that have
      a greatest contribution, in other embodiments, the predictive correlation
      module 318 may determine one or more specific instances of a feature
      that are predictive, have a greatest contribution to a predicted result or
      confidence metric, or the like.

(Appx30, 14:9-25)

      Accordingly, there are a number of advantages to the method of producing

predictive ensembles disclosed by the ‘446 Patent and improvements to the

predictive ensembles because of the claimed methods.

      Finally, it should also be noted that features claimed in the ‘446 Patent, such

as the predictive analytics factory, the predictive ensemble, and other features are

necessarily implemented with computer hardware and software. For example, the




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predictive ensemble’s metadata rule set is implemented using an orchestration

module. As explained in the ‘446 Patent (col. 3, ll. 35-47):

      a module may be implemented as a hardware circuit . . . . A module
      may also be implemented in programmable hardware devices . . . .

      Modules may also be implemented in software for execution by various
      types of processors. . . . .

(Appx25, 3:35-47)

      C.     The claims at issue

      The claims of ‘446 patent being asserted are consistent with the inventions

described in the specification:

      1. An apparatus for a predictive analytics factory, the apparatus
      comprising:

            a receiver module configured to receive training data for forming
      a predictive ensemble customized for the training data;

            a function generator module configured to pseudo-randomly
      generate a plurality of learned functions based on the training data
      without prior know ledge regarding suitability of the generated learned
      functions for the training data;

             a function evaluator module configured to perform an evaluation
      of the plurality of learned functions using test data and to maintain
      evaluation metadata for the plurality of learned functions, the
      evaluation metadata comprising one or more of an indicator of a
      training data set used to generate a learned function and an indicator of
      one or more decisions made by a learned function during the evaluation;
      and

            a predictive compiler module configured to form the predictive
      ensemble, the predictive ensemble comprising a subset of multiple
      learned functions from the plurality of learned functions, the multiple

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     learned functions selected and combined based on the evaluation
     metadata for the plurality of learned functions, the predictive ensemble
     comprising a rule set synthesized from the evaluation metadata to direct
     data through the multiple learned functions such that different learned
     functions of the ensemble process different subsets of the data based on
     the evaluation metadata.

(Appx34, 22:56 – Appx35, 23:18)

     14. A method for a predictive analysis factory, the method comprising:

           pseudo-randomly generating a plurality of learned functions
     based on training data without prior knowledge regarding suitability of
     the generated learned functions for the training data, the training data
     received for forming a predictive ensemble customized for the training
     data;

            evaluating the plurality of learned functions using test data to
     generate evaluation metadata indicating an effectiveness of different
     learned functions at making predictions based on different subsets of
     the test data; and

           forming the predictive ensemble comprising a subset of multiple
     learned functions from the plurality of learned functions, the subset of
     multiple learned functions selected and combined based on the
     evaluation metadata, the predictive ensemble comprising a rule set
     synthesized from the evaluation metadata to direct different subsets of
     the workload data through different learned functions of the multiple
     learned functions based on the evaluation metadata.

(Appx35, 24:21-41)

     17. A computer program product comprising a non-transitory computer
     readable storage medium storing computer usable program code
     executable to perform operations for a predictive analysis factory, the
     operations comprising:

            pseudo-randomly determining a plurality of learned functions
     using training data without prior knowledge regarding suitability of the
     determined learned functions for the training data, the training data

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     comprising a plurality of features, the training data received for forming
     a predictive ensemble customized for the training data;

           selecting a subset of the features of the training data based on
     evaluation metadata generated for the plurality of learned functions, the
     evaluation metadata comprising an effectiveness metric for a learned
     function; and

            forming the predictive ensemble, the predictive ensemble
     comprising at least two learned functions from the plurality of learned
     functions, the at least two learned functions using the selected subset of
     features, the at least two learned functions selected and combined based
     on the evaluation metadata, the predictive ensemble comprising a rule
     set synthesized from the evaluation metadata to direct data through the
     at least two learned functions so that different learned functions process
     different features of the selected subset of features.

(Appx35, 24:54 – Appx36, 25:10)

     23. A predictive analytics ensemble comprising:

            multiple learned functions synthesized from a larger plurality of
     learned functions, the multiple learned functions selected and combined
     based on evaluation metadata for an evaluation of the larger plurality
     of learned functions, wherein the larger plurality of learned functions
     are generated pseudo-randomly from training data without prior
     knowledge of a suitability of the larger plurality of learned functions
     for the training data;

           a metadata rule set synthesized from the evaluation metadata for
     the plurality of learned functions for directing data through different
     learned functions of the multiple learned functions to produce a result;
     and

            an orchestration module configured to direct the data through the
     different learned functions of the multiple learned functions based on
     the synthesized metadata rule set to produce the result.

(Appx36, 26:4-19)



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      PurePredictive alleged that defendant “infringes one or more claims” of the

‘446 Patent. PurePredictive’s infringement action was intended to assert dependent

as well as independent claims. For example, defendant is believed to infringe

dependent claim 12.

(Appx35, 24:7-13)

      D.     The district court’s dismissal order

      The district court’s dismissal order (“the Order”) held that claims 1, 14, 17,

and 23 were invalid under § 101 because they allegedly are “directed to the abstract

concept of the manipulation of mathematical functions and make use of computers

only as tools, rather than provide a specific improvement on a computer-related

technology.” (Appx2:17-19) The district court’s decision invalidating the ‘446

Patent claims was made without the benefit of any discovery regarding claim

construction.

      The district court used claim 14 as a “representative claim” and characterized

it as follows:

      Put very simply, the method performs predictive analytics in three
      steps. First, it receives data and generates “learned functions,” or, for
      example, regressions from that data. . . . Second, it evaluates the
      effectiveness of those learned functions at making accurate predictions
      based on the test data. Finally, it selects the most effective learned
      functions and creates a rule set for additional data input. These three
      steps comprise the predictive analytics factory’s method.

(Appx3:15-20)


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      The district court also characterized the claims as “directed to the patent-

ineligible abstract concept of testing and refining mathematical algorithms”

(Appx11:3-4) and merely “recit[ing] the functional steps for collecting, analyzing, and

refining data through mathematical algorithms.” (Appx13:3-4). The district court

relied on these broad characterizations for its § 101 analysis without referring to or

discussing the actual language of the claim elements, either individually or in

combination. (Appx13:8-9)

      The dismissal order also never references or discusses the “clear and

convincing” evidence standard of proof the defendant bears to establish invalidity or

the presumption of validity that attends a patent. Likewise, no dependent claims were

ever evaluated or addressed by the Order. Rather, the Order simply states that

“[a]mendment would be futile in light of the analysis above . . . .” (Appx13:12)

                       SUMMARY OF THE ARGUMENT

      I.     The Claims Cover Patent Eligible Subject Matter

      The district court erred by granting the motion to dismiss holding that claims 1,

14, 17, and 23 are invalid under § 101. To the contrary, the claims are directed to an

improvement in the technology of predictive analytics data processing. Each of the

asserted claims includes a predictive ensemble that provides a structured environment

for processing analytics data. Claim 1, for example, includes in relevant part:

      the predictive ensemble comprising a subset of multiple learned
      functions . . . selected and combined based on the evaluation metadata .

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      . . , [and] a rule set synthesized from the evaluation metadata to direct
      data through the multiple learned functions such that different learned
      functions of the ensemble process different subsets of the data based on
      the evaluation metadata.

(Appx35, 23:8-18) (emphasis added)

      The claimed predictive ensemble provides a structured environment that

defines how various elements of information (e.g., subsets of data) are related to

various combined learned functions. It is not a mathematical formula. Rather,

metadata is used to define relationships between different subsets of workload data

and different combined synthesized learned functions. A metadata rules set dictates

which subsets of data get processed by which of the different subsets of learned

functions within the predictive ensemble.

      The district court described the '446 Patent's claims at such a high level of

abstraction and untethered from the claim language that it ensured the claims would

be patent ineligible. The district court’s characterization of the claims removed core

features of the claims, including the predictive ensemble. The district court also erred

by finding the ‘446 Patent claims were invalid without applying a “clear and

convincing” evidence standard or giving deference to the patent’s presumption of

validity. Likewise, the district court erred by not drawing all reasonable inferences

from the ‘446 Patent intrinsic evidence alleged in the Complaint in favor of plaintiff,

PurePredictive.

      Thus, the order of dismissal should be reversed.

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      A.    The district court oversimplified the claims without accounting for
            their core features

      1.    The district court oversimplified the claims in its § 101 analysis by

finding they were directed to “the patent-ineligible abstract concept of testing and

refining mathematical algorithms” (Appx11:3-4), or merely “recite the functional

steps for collecting, analyzing, and refining data through mathematical

algorithms.” (Appx13:3-4)

      2.    The claims-at-issue are not directed to mathematical algorithms.

Rather independent claims 1, 14, 17, and 23 are directed to a predictive analytics

factory for forming a predictive ensemble, a method for forming a predictive

ensemble, a computer program product for forming a predictive ensemble, and a

predictive ensemble respectively. Notably, each of the claims includes a predictive

ensemble consistent with the ‘446 specification.

      3.    A predictive ensemble is not a mathematical formula. Rather, as

discussed above, it is a structured arrangement of (i) combined, synthesized learned

functions, (ii) a metadata rules set, and (iii) means for implementation of the

metadata rules, such as an orchestration module. Thus metadata is used to define

relationships within the predictive ensemble so that an orchestration module can

direct different classes or subsets of data to different combined learned functions

for processing.




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      4.     As a whole the claims-at-issue are not directed to excluded subject

matter such as a common business method or a fundamental practice long prevalent

that uses a general computer.

      5.     But the district court never meaningfully discussed the actual claim

language in any of its § 101 analysis. Instead, in each instance the district court

referenced to its overbroad abstraction, untethered from the actual language of the

claims, and without consideration of the predictive ensemble. CLS Bank Int’l v.

Alice Corp. Pty. Ltd., 717 F.3d 1269, 1298 (Fed. Cir. 2013) aff’d 134 S. Ct. 2347

(2014)). Thus, the district court’s § 101 analysis does not account for core features

of the claims.

      6.     The claimed predictive ensemble feature is comparable to Enfish’s

logical model for a computer database that defined how the various elements of

information in the database are related to each other (e.g., the “self-referential”

database model), which was held as patent eligible by this Court. Enfish, LLC v.

Microsoft Corp., 822 F.3d 1327, 1330-33, 1346 (Fed. Cir. 2016).

      7.     Also, the claimed inventions of ‘446 Patent (e.g., claims 1, 14, and 17)

transform pseudo-randomly generated learned functions and metadata into the

structured data processing environment of the ‘446 predictive ensemble. Thus, they

are at least patent eligible under § 101 pursuant to “the machine-or-transformation




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test.” In re Bilski, 545 F.3d 943, 956, 963 (Fed. Cir. 2008) (en banc), aff’d sub nom.

Bilski v. Kappos, 561 U.S. 593 (2010).

      8.     Thus, the order of dismissal should be reversed.

      B.     The claims improve analytics data processing technology

      1.     The district court erred by holding that “[PurePredictive] still cannot

show that its claims improve the functioning of a computer-related technology rather

than use computers as a tool.” (Appx10:12-13) The district court did not consider

the true claim limitations, how they are informed by the specification, or their

benefits and advantages. Moreover, the “improvement” analysis under Alice is not

limited to computer improvements, but extends to “improvement in any other

technology or technical field.” Alice Corp. Pty. Ltd., v. CLS Bank Int’l, 134 S. Ct.

2347, 2359 (2014).

      2.     As disclosed and described in the ‘446 specification, the inventions

claimed by the ‘446 Patent are improvements to predictive analytics data processing

technology and related computer technology at least in the following ways:

             (i)     The inventions claimed by ‘446 patent eliminate or reduce

intervention by or needed input from data scientists, experts, and users. (Appx24,

1:42-44; Appx27, 7:14-16; Appx27, 7:29-31; Appx28, 10:8-10)

             (ii)    The inventions claimed by ‘446 patent improve the efficiency

and effectiveness of the claimed predictive ensembles and determine a minimum


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effective set of features for use in the predictive ensemble. (Appx29, 12:39-51;

Appx28, 9:61-65; Appx30, 13:11-14; Appx32, 17:28-32)

            (iii)   The inventions claimed by ‘446 patent reduces noise from the

resulting predictive ensembles. (Appx29, 12:55-59)

            (iv)    The inventions claimed by ‘446 patent optimize the overhead of

the resulting predictive ensembles. (Appx29, 11:45-60)

            (v)     The inventions claimed by ‘446 patent improve and optimize

confidence metrics. (Appx30, 13:19-27; Appx30, 13:35-39; Appx30, 14:9-25)

      3.    The predictive ensemble taught by the ‘446 Patent is also an

improvement over other predictive-analytics modules, such as predictive voting

systems. (Exhibit A to Mot. For Judicial Notice, 75-76:¶ 11) The predictive

ensemble of the ‘446 Patent comparably has improved data processing time, reduced

power consumption, and improved effectiveness of predictive data processing over

voting system based predictive ensembles.

      4.    Thus, the order of dismissal should be reversed.

      C.    The appealed claims satisfy Alice step 2; the district court did not
            properly apply the “inventive concept” test

      1.    The district court erred in its application of the “inventive concept”

test under Alice step 2. The district court’s characterization of the claims as

merely “recit[ing] the functional steps for collecting, analyzing, and refining data




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through mathematical algorithms” is wrong and ignores the actual claim

language. (Appx13:3-4)

      2.     The actual language of the claims-at-issue includes a predictive

ensemble, which provides a structured data processing environment in which

metadata is used to define relationships between classes or subsets of workload data

and an array of different combined learned functions. The structured arrangement of

the predictive ensemble is an “inventive concept” or “something more.” Alice, 134 S.

Ct. at 2355 (quoting Mayo Collaborative Services v. Prometheus Labs., Inc., 132 S.

Ct. 1289, 1294 (2012)). A predictive ensemble is not a mathematical algorithm.

      3.     But the dismissal order did not consider the actual language of each

claim element either individually or in combination to see whether there was

“something more”. As with all of its other § 101 analysis, in each instance the district

court erroneously only referenced its overbroad abstraction of the claims instead of

the actual claim language. The district court’s overbroad abstraction ignores the

structured environment provided by the claimed predictive ensemble as described by

the actual claim language. No claim language was ever addressed by the district court

in this regard. Thus, core features such as the predictive ensemble were not

meaningfully considered.

      4.     The actual claim language, considered in view of the specification,

amply demonstrates that the claims are not directed to analyzing data through


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mathematical algorithms. Claim 1 is directed to a predictive analytics factory for

forming a predictive ensemble. Claim 14 is directed to a method for a predictive

analytics factory for forming a predictive ensemble. Claim 17 is directed to a

computer program product for forming a predictive ensemble. And claim 23 is

directed to a predictive ensemble. Thus each of the claims-at-issue include patent

eligible subject matter under § 101.

      5.     Accordingly, the order of dismissal should be reversed.

      D.     The district court erred by not applying the “clear and convincing”
             evidence standard under 35 U.S.C. § 282 and did not draw all
             reasonable inferences in favor of the plaintiff as required under
             Ninth Circuit precedent

      1.     The district court legally erred by not applying the “clear and

convincing” evidence standard when it held the claims of the ‘446 Patent invalid.

The district court also erred by not drawing all reasonable inferences from the

alleged intrinsic evidence in favor of PurePredictive.

      2.     Challenges to patent validity under § 101 must satisfy a “clear and

convincing” evidence standard. See Microsoft Corp v. i4i Ltd. P’ship, 564 U.S. 91,

103 (2011). “A patent shall be presumed valid.” 35 U.S.C. § 282. The burden of

establishing patent invalidity rests on the party asserting invalidity. Id.

      3.     The dismissal order is devoid of any reference to or discussion of 35

U.S.C. § 282, the presumption of patent validity, or the burden to establish invalidity

by “clear and convincing” evidence. See Microsoft Corp, 564 U.S. at 103. (Appx2-

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13) The district court’s determination of invalidity did not take into account the

presumption of patent validity by imposing the required “clear and convincing”

evidence burden of proof on defendant.

      4.     Likewise, under Ninth Circuit precedent, the district court was required

to “accept[] the plaintiff’s allegations as true and draw[] all reasonable inferences in

favor of the plaintiff.” (Appx4:20-22). See Usher v. City of Los Angeles, 828 F.2d

556, 561 (9th Cir. 1987). But the district court did not meaningfully analyze the

specification or intrinsic evidence by drawing all reasonable inferences in favor of

PurePredictive. Rather, the district court accepted defendant’s conclusory statement

regarding the meaning of the claims.

      5.     Thus, the order of dismissal should be reversed.

      E.     The district court erroneously held all claims invalid; amendment
             of the Complaint would not be futile

      1.     The district court erroneously held that “[a]mendment [of the

Complaint] would be futile in light of the analysis above.” (Appx13:12) Thus the

dismissal order essentially holds all of the ‘446 claims, including dependent claims,

invalid without considering any of the claim language covering core features of the

claimed invention.

      2.     PurePredictive’s infringement cause of action was not intended to be

limited to infringement of the independent claims. Indeed, it broadly alleges that

defendant “infringes one or more claims” of the ‘446 Patent. (Appx48:10-11)

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      3.     Dismissing the Complaint without considering the dependent claims is

contrary to the plain language of 35 U.S.C. § 282, which states: “Each claim of a

patent . . . shall be presumed valid independently of the validity of other claims.” 35

U.S.C. § 282.

      4.     Defendant also infringes a number of dependent claims, including for

example, claim 12. Claim 12’s language is directed to the orchestration module for

directing workload data through the structured environment of the predictive

ensemble, and in particular to the classification of data and providing a confidence

metric for said classification. Thus claim 12 is directed to the transformation of data

by the predictive ensemble, which is clearly patent eligible under § 101. In re Bilski,

545 F.3d at 963.

      5.     Thus, the order of dismissal should be reversed.

                                   ARGUMENT

I.    LEGAL STANDARD OF REVIEW

      A.     Dismissal under Rule 12(b)(6)

      This Court applies the law of the regional circuit when reviewing a district

court’s grant of a motion to dismiss under Rule 12(b)(6) for failure to state a claim

upon which relief can be granted. K-Tech Telecomms., Inc. v. Time Warner Cable,

Inc., 714 F.3d 1277, 1282 (Fed. Cir. 2013). The Ninth Circuit reviews de novo a




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district court’s dismissal for failure to state a claim pursuant to Rule 12(b)(6). See

Knievel v. ESPN, 393 F.3d 1068, 1072 (9th Cir. 2005).

      In deciding motions to dismiss, courts look at the allegations of the complaint

to determine if "enough facts to state a claim to relief that is plausible on its face"

are alleged, Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is facially

plausible "when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged."

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). In deciding whether the plaintiff has

stated a claim upon which relief can be granted, the court accepts the plaintiff’s

allegations as true and draws all reasonable inferences in favor of the plaintiff. See

Usher, 828 F.2d at 561.

      B.     Patent Validity

      “A patent shall be presumed valid. Each claim of a patent . . . shall be

presumed valid independently of the validity of other claims; dependent or multiple

dependent claims shall be presumed valid even though dependent upon an invalid

claim.” 35 U.S.C. § 282. The burden of establishing patent invalidity rests on the

party asserting invalidity. Id.

      Challenges to patent validity under § 101 must satisfy a “clear and

convincing” evidence standard. See Microsoft, 564 U.S. at 103 (holding that the

presumption of validity under 35 U.S.C. § 282 requires the clear and convincing


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evidence standard to apply to all validity challenges because “we must presume that

Congress intended to incorporate the heightened standard of proof, unless the statute

otherwise dictates” and nothing “suggests that Congress meant to . . . enact a

standard of proof that would rise and fall with the facts of each case” (internal quotes

omitted)); CLS Bank, 717 F.3d at 1304-05 aff’d 134 S. Ct. 2347 (2014); DataTern,

Inc. v. Microstrategy, Inc., 2015 WL 5190715 at *8–9 (applying the presumption of

validity and the clear-and-convincing standard in § 101 analysis).

      C.     Claim Construction

      The ultimate question of proper claim construction is a question of law that

this Court reviews de novo. Teva Pharm. USA, Inc. v. Sandoz, Inc. 135 S. Ct. 831,

837 (2015). Likewise, “when the district court reviews only evidence intrinsic to

the patent (the patent claims and specifications, along with the patent’s prosecution

history), the judge’s determination will amount solely to a determination of law”

which will be reviewed de novo. Id. at 841. But subsidiary factual findings based on

extrinsic evidence are reviewed under the clearly erroneous standard. Id. at 838.

      D.     Patent eligibility under § 101

      This Court reviews determinations of patent eligibility under 35 U.S.C. § 101

de novo. McRO, Inc. v. Bandai Namco Games America Inc., 837 F.3d 1299, 1311

(Fed. Cir. 2016); DDR Holdings, LLC v. Hotels.Com, L.P., 773 F.3d 1245, 1255

(Fed. Cir. 2014).


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      Section 101 dictates that a patent may be obtained for "any new and useful

process, machine, manufacture, or composition of matter, or any new and useful

improvement thereof." 35 U.S.C. § 101. There are only three narrow, judicially-

created, exceptions to the broad language of 35 U.S.C. § 101 – “laws of nature,

natural phenomena, and abstract ideas.” Diamond v. Diehr, 450 U.S. 175, 185

(1981); see also Bilski v. Kappos, 561 U.S. 593, 601-02 (2010) ("Bilski II"). But the

Supreme Court has emphasized caution when applying these three narrow

exceptions: "[W]e tread carefully in construing this exclusionary principle, lest it

swallow all of patent law. At some level, 'all inventions . . . embody, use, reflect, rest

upon, or apply laws of nature, natural phenomena, or abstract ideas.'" Alice, 134 S.

Ct. at 2354 (quoting Mayo, 132 S. Ct. at 1293 (internal citation omitted)).

      This Court has held that a patent claim should not be found ineligible as

directed to an abstract idea under Section 101 unless the abstractness "exhibit[s]

itself so manifestly as to override the broad statutory categories of eligible subject

matter." Research Corp. Techs., Inc. v. Microsoft Corp., 627 F.3d 859, 868 (Fed.

Cir. 2010) (emphasis added).

II.   THE CLAIMS COVER PATENT ELIGIBLE-SUBJECT MATTER

      The district court erred by granting the motion to dismiss holding that claims

1, 14, 17, and 23 are patent ineligible under § 101.




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      The claims-at-issue are directed to an improvement in the technology of

predictive analytics data processing. Each of the claims includes a predictive

ensemble that provides a structured environment for processing analytics data. The

predictive ensemble comprises a combined arrangement of learned functions, a

synthesized metadata rules set, and means for implementing the metadata rules set.

The workload environment for predictive analytics data processing is structured in

the predictive ensemble using the synthesized metadata rules set, which defines the

division of data processing workload. The synthesized metadata rules set dictates

which subsets of data get processed by which of the different learned functions

within the predictive ensemble. As set forth in the last element of claim 1:

      the predictive ensemble comprising a subset of multiple learned
      functions from the plurality of learned functions, the multiple learned
      functions selected and combined based on the evaluation metadata for
      the plurality of learned functions, the predictive ensemble comprising
      a rule set synthesized from the evaluation metadata to direct data
      through the multiple learned functions such that different learned
      functions of the ensemble process different subsets of the data based on
      the evaluation metadata.

(Appx35, 23:8-18) (emphasis added)

      But the district court described the '446 Patent's claims at such a high level of

abstraction and untethered from the claim language that it ensured the claims would

be patent ineligible. The district court’s order of dismissal also erred by finding the

‘446 Patent claims were invalid without applying a “clear and convincing” evidence

standard or giving deference to the patent’s presumption of validity. Likewise, the

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district court erred in not according the best light to the ‘446 Patent. The claims-at-

issue are directed to an improvement in the technology of predictive analytics data

processing.

      The Supreme Court clarified the test for the subject matter eligibility of claims

under 35 U.S.C. § 101 in Mayo. In Alice, the Court summarized the Mayo standard:

“[f]irst, we determine whether the claims at issue are directed to one of those patent-

ineligible concepts. If so, we then ask, ‘what else is there in the claims before us?’

To answer that question, we consider the elements of each claim both individually

and ‘as an ordered combination’ to determine whether the additional elements

‘transform the nature of the claim’ into a patent-eligible application.” Alice, 134 S.

Ct. at 2355 (quoting Mayo, 132 S. Ct. at 1297-98). The Supreme Court has

“described step two of this analysis as a search for an ‘inventive concept’—i.e., an

element or combination of elements that is ‘sufficient to ensure that the patent in

practice amounts to significantly more than a patent upon the [ineligible concept]

itself.’” Alice, 134 S. Ct. at 2355 (quoting Mayo, 132 S. Ct. at 1294) (alteration in

original).

      Without limiting other eligible subject matter under § 101, the Supreme Court

has indicated that patent claims satisfy § 101’s requirements if they “improve the

functioning of the computer itself,” or “effect an improvement in any other

technology or technical field.” Alice, 134 S. Ct. at 2359 (emphasis added). And this


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Court held in DDR Holdings that that patent claims satisfied § 101 when “the

claimed solution is necessarily rooted in computer technology in order to overcome

a problem specifically arising in the realm of computer networks.” DDR Holdings,

773 F.3d at 1257.

      In Enfish, this Court stated that “the first step of the [Alice] inquiry is a

meaningful one, i.e., that a substantial class of claims are not directed to a patent-

ineligible concept." Enfish, 822 F.3d at 1335 (emphasis in original). The "directed

to" inquiry, therefore,

      cannot simply ask whether the claims involve a patent-ineligible
      concept, because essentially every routinely patent-eligible claim
      involving physical products and actions involves a law of nature and/or
      natural phenomenon - after all, they take place in the physical world.
      See Mayo, 132 S. Ct. at 1293 ("For all inventions at some level embody,
      use, reflect, rest upon, or apply laws of nature, natural phenomena, or
      abstract ideas.") Rather, the "directed to" inquiry applies a stage-one
      filter to claims, considered in light of the specification, based on
      whether "their character as a whole is directed to excluded subject
      matter." (Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343,
      1346 (Fed. Cir. 2015).

Id. (emphasis added)

      Further, this Court has stated: “[w]e therefore look to whether the claims in

these patents focus on a specific means or method that improves the relevant

technology or are instead directed to a result or effect that itself is the abstract idea

and merely invoke generic processes and machinery.” McRO, 837 F.3d at 1314




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(citing Enfish, 822 F.3d at 1336 and Rapid Litig. Mgmt. Ltd. v. CellzDirect, Inc., 827

F.3d 1042, 1048 (Fed. Cir. 2016)) (emphasis added).

      The asserted claims focus on an improvement to the technology of predictive

analytic data processing. Each of the claims include a predictive ensemble having a

structured data processing environment and arrangement of combined learned

functions where different subsets of data are directed to different learned functions

for predictive analytics data processing. The meaning of the claims was not properly

considered in light of the ‘446 specification. Thus, the district court’s order of

dismissal should be reversed.

      A.     The district court oversimplified the claims without accounting for
             their core features

      The district court oversimplified the claims in its § 101 analysis by finding

they were directed to “the abstract concept of the manipulation of mathematical

functions and make use of computers only as tools, rather than provide a specific

improvement on a computer-related technology” (Appx2:18-20), “the patent-

ineligible abstract concept of testing and refining mathematical algorithms”

(Appx11:3-4), or merely “recite the functional steps for collecting, analyzing, and

refining data through mathematical algorithms.” (Appx13:3-4) Describing the

claims at such a high level of abstraction and untethered from the actual language of

the claims, as informed by the specification, all but ensures that the “abstract idea”

exceptions to § 101 will swallow the rule:

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      Any claim can be stripped down, simplified, generalized, or
      paraphrased to remove all of its concrete limitations, until at its core,
      something that could be characterized as an abstract idea is revealed.
      Such an approach would ‘if carried to its extreme, make all inventions
      unpatentable because all inventions can be reduced to underlying
      principles of nature which, once known, make their implementation
      obvious.

      CLS Bank, 717 F.3d at 1298 aff’d 134 S. Ct. 2347 (2014) (quoting Diamond,

450 U.S. at 189 n.12).

      The dismissal order stripped down and generalized the claims. It includes no

meaningful discussion regarding the actual claim language or the meaning of the

claim terms considered in view of the specification. Rather, the district court merely

quoted claim 14 and then makes the following conclusory statement:

      Put very simply, the method performs predictive analytics in three
      steps. First, it receives data and generates “learned functions,” or, for
      example, regressions from that data. See ‘446 Patent at 8:66–9:12.
      Second, it evaluates the effectiveness of those learned functions at
      making accurate predictions based on the test data. Finally, it selects
      the most effective learned functions and creates a rule set for additional
      data input. These three steps comprise the predictive analytics factory’s
      method. Claim 1 recites a module-based apparatus for this predictive
      analytics factory, Compl. ¶ 16, Claim 17 recites a computer program
      product to perform the operations of the predictive analytics factory,
      Compl. ¶ 18, and Claim 23 recites a predictive analytics ensemble,
      Compl. ¶ 19.

      (Appx3:15-24)

      This overbroad abstraction does not account for core features of the claims.

The order does not include any discussion of the actual claim language. The claims

at issue are more specific than the dismissal order’s oversimplified rephrase. As a

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whole they are not directed to excluded subject matter such as a common business

method or a fundamental practice long prevalent that uses a general computer.

Notably, each of the claims includes a predictive ensemble consistent with the

inventions disclosed in the ‘446 Patent. The predictive ensemble of the ‘446 Patent

provides a structured environment for predictive analytics data processing. Yet the

district court’s erroneous abstraction of the claims informed the rest of the district

court’s findings without reference to the claim language. The district court never

discussed the claim language regarding the predictive ensemble feature.

      For example, when evaluating whether or not the claims were directed to

patent ineligible subject matter, the district court addressed the claims solely by

reference to the court abstracted “steps” recited above. No further discussion of the

claim language was conducted.

      The dismissal order addressed the court-created “first step” (on page 8 of

Order) as follows: “The first step, generating learned functions or regressions from

data—the basic mathematical process of, for example, regression modeling, or

running data through an algorithm—is not a patentable concept.” (Appx9:8). No

reference was made to any claim language. No mention was made of the claimed

predictive ensemble, which provides a structured environment for data processing.

Likewise, the dismissal order addressed the court-created second and third “steps”

(on page 9 of Order) as follows:


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      The next steps of the method are similarly abstract. The method takes
      the learned functions, evaluates their effectiveness, and selects those
      most effective to create a rule set. These are mathematical processes
      that not only could be performed by humans but also go to the general
      abstract concept of predictive analytics rather than any specific
      application.

(Appx10:1-4) Again, no reference was made to any claim language. And the Order

did not include any discussion of the claimed predictive ensemble.

      Notable was the district court’s focus on whether the claims were directed to

patent ineligible subject matter rather than whether the “claims are not directed to a

patent-ineligible concept" as described in Enfish, 822 F.3d at 1335 (emphasis in

original). (Appx6-11) In other words, the district court’s focus was to search for

patent ineligible subject matter rather than search for patent eligible subject matter.

This approach ensured the court would find ineligible subject matter while

overlooking core features of the claims. CLS Bank, 717 F.3d at 1298 aff’d 134 S. Ct.

2347 (2014) (quoting Diamond, 450 U.S. at 189 n.12 (“Any claim can be stripped

down, simplified, generalized, or paraphrased to remove all of its concrete

limitations, until at its core, something that could be characterized as an abstract idea

is revealed.”)).

      As noted above, the district court overlooked core features found in the claims.

Each of the asserted claims includes language covering a predictive ensemble. A

predictive ensemble is not a mathematical formula. Instead, it is a computer

implemented module that provides a structured environment for processing

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predictive analytics data. As illustrated in FIG. 4 of the ‘446 Patent (below), the

predictive ensemble includes (i) an orchestration module, (ii) a synthesized metadata

rule set, and (iii) a combination or arrangement of synthesized learned functions.




      In the predictive ensemble, different learned functions are synthesized and

combined into a structured predictive data processing environment. As described in

the patent (col. 20, ll. 54-62), the set of learned functions may include:



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      different classes [of learned functions] including a collection of
      decision trees 502a, configured to receive or process a subset A-F of
      the feature set of the predictive ensemble 304, a collection of support
      vector machines ("SVMs") 502b with certain kernels and with an input
      space configured with particular subsets of the feature set G-L, and a
      selected group of regression models 502c, here depicted as a suite of
      single layer ("SL") neural nets trained on certain feature sets K-N.

(Appx33, 20:54-62)

      The analytics data processing workload is organized or structured among the

different synthesized learned functions using the synthesized metadata rule set. As

described in the ‘446 Patent (col. 18, ll. 23-28):

      the synthesized metadata rule set 322 comprises a set of rules or
      conditions from the evaluation metadata of the metadata library 314
      that indicate to the orchestration module 320 which features, instances,
      or the like should be directed to which synthesized learned function
      324.

      (Appx32, 18:23-28)

      The synthesized metadata rule set is generated using a synthesizer module. As

described in the ‘446 Patent (col. 18, ll. 33-39):

      The synthesizer module 310 may use that evaluation metadata to
      determine rules for the synthesized metadata rule set 322, indicating
      which features, which instances, or the like the orchestration module
      320 the orchestration module 320 [sic] should direct through which
      learned functions, in which order, or the like.

      (Appx32, 18:33-39)

      Thus, the metadata rule set defines the direction or flow for the workload data

and dictates the division of work load among learned functions. Different learned



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functions process different subsets of data. The orchestration module then directs the

appropriate class or subset of data to the appropriate learned function and in the

appropriate order based on the metadata rule set. As described in the ‘446 Patent (col.

18, ll. 11-22):

       The orchestration module 320 . . . is configured to direct workload data
       through the predictive ensemble 304 to produce a result, such as a
       classification, a confidence metric, . . . an answer, a prediction, a
       recognized pattern, a rule, [and/or] a recommendation . . . . [T]he
       orchestration module 320 uses evaluation metadata from the function
       evaluator module 312 and/or the metadata library 314, such as the
       synthesized metadata rule set 322, to determine how to direct workload
       data through the synthesized learned functions 324 of the predictive
       ensemble 304.

(Appx32, 18:11-22)

       Thus, the predictive ensemble of the ‘446 Patent provides a structured data

processing environment in which different subsets of workload data are assigned to take

different data processing paths to be processed by different combined learned functions.

       Each of the asserted claims covers a predictive ensemble consistent with the

specification. For example, claims 1 and 14 include, in part, the following language,

       the predictive ensemble comprising a subset of multiple learned functions
       from the plurality of learned functions, the multiple learned functions
       selected and combined based on the evaluation metadata for the plurality
       of learned functions, the predictive ensemble comprising a rule set
       synthesized from the evaluation metadata to direct data through the
       multiple learned functions such that different learned functions of the
       ensemble process different subsets of the data based on the evaluation
       metadata.

(Appx35, 23:8-18) (emphasis added)

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      But the overbroad abstraction of the claims by the district court overlooks the

specific claim language and in particular this core feature. The predictive ensemble

feature is comparable to the “self-referential” database model held as patent eligible

in Enfish. Enfish, 822 F.3d at 1330-33, 1346. In Enfish, the patents-at-issue covered a

logical model for a computer database that defined how the various elements of

information in the database are related to each other. Enfish's logical model includes

all data entities in a single table, with column definitions provided by rows in that

same table. Id. at 1330. The patents describe this as the "self-referential" property of

the database. This Court held that claims covering this “self-referential” feature were

patent eligible under § 101.

      The predictive ensemble feature claimed in the ‘446 Patent likewise is a

structured environment that defines how various elements of information (e.g., subsets

of data) are related to various combined learned functions. It is not a mathematical

formula. Rather, metadata is used to define relationships between different subsets of

workload data and different synthesized learned functions. The combined

arrangement (e.g., assembly or structure) of synthesized learned functions has a

structured relationship with respect to subsets of data to be processed. The synthesized

metadata rules set defines the relationship between the different subsets of data and

the different combined learned functions. (Appx35, 23:8-18) Accordingly, the

asserted claims are directed to patent eligible subject matter under § 101.


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       Furthermore, asserted claims covering a process for forming a predictive

ensemble of the ‘446 Patent are patent eligible because they cover a transformation.

Before the Supreme Court established the Alice/Mayo framework, this Court used

“the machine-or-transformation test” when “determining patent eligibility of a

process under § 101.” In re Bilski, 545 F.3d at 956, aff’d sub nom. Bilski v. Kappos,

561 U.S. 593 (2010). Under that test, a process is patent-eligible if: “(1) it is tied to

a particular machine or apparatus, or (2) it transforms a particular article into a

different state or thing.” In re Bilski, 545 F.3d at 954 (emphasis added). Although it

“is not the sole test” for patent-eligibility, the machine-or-transformation test

remains “a useful and important clue.” Bilski, 561 U.S. at 604. The claims here

satisfy that test.

       For example, claim 14 is directed to the method for a predictive analytics

factory for forming a predictive ensemble consistent with the ‘446 specification.

Claim 14 states:

       14. A method for a predictive analysis factory, the method comprising:

             pseudo-randomly generating a plurality of learned functions
       based on training data without prior knowledge regarding suitability of
       the generated learned functions for the training data, the training data
       received for forming a predictive ensemble customized for the training
       data;

              evaluating the plurality of learned functions using test data to
       generate evaluation metadata indicating an effectiveness of different
       learned functions at making predictions based on different subsets of
       the test data; and

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            forming the predictive ensemble comprising a subset of multiple
      learned functions from the plurality of learned functions, the subset of
      multiple learned functions selected and combined based on the
      evaluation metadata, the predictive ensemble comprising a rule set
      synthesized from the evaluation metadata to direct different subsets of
      the workload data through different learned functions of the multiple
      learned functions based on the evaluation metadata.

(Appx35, 24:21-41) (emphasis added)

      Because the invention transforms pseudo-randomly generated learned

functions and metadata into the structured data processing environment of the ‘446

predictive ensemble, as explained above, the claimed process is patent eligible. In re

Bilski, 545 F.3d at 963; see In re Abele, 684 F.2d 902 (C.C.P.A. 1982) (upholding

invention that takes X-ray attenuation data and displays it in visual form on a screen).

Likewise, claims 1 and 17 are respectively directed to a predictive analytics factory

and a computer program product that transform pseudo-randomly generated learned

functions and metadata into the structured data processing environment of the ‘446

predictive ensemble. Accordingly, they are likewise patent eligible.

      Thus, the order of dismissal should be reversed.

      B.     The claims improve analytics data processing technology

      The district court erred by holding that “[PurePredictive] still cannot show

that its claims improve the functioning of a computer-related technology rather than

use computers as a tool.” (Appx10:12-13) The district court did not consider the true

claim limitations, how they are informed by the specification, or their benefits and

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advantages. Moreover, the “improvement” analysis under Alice is not limited to

computer improvements, but extends to “improvement in any other technology or

technical field.” Alice, 134 S. Ct. at 2359.

      The ‘446 specification teaches the invention improves predictive analytics data

processing technology. Among improvements disclosed in the specification, are:

      1.     Generation of effective predictive ensembles without intervention of

data scientists, experts, or users. The ‘446 specification states the following about the

invention’s elimination or reduction of input from data scientists, experts, and users:

      a predictive analytics factory configured to generate a predictive
      ensemble regardless of the particular field or application, with little or no
      input from a user or expert.

(Appx24, 1:42-44)

      The predictive analytics module 102 . . . generates predictive ensembles
      for the clients 104, with little or no input from a Data Scientist or other
      expert

(Appx27, 7:14-16)

      provide[s] predictive ensembles that are customized and finely tuned for
      data from a specific client 104, without excessive intervention or fine-
      tuning

(Appx27, 7:29-31)

      eliminates or minimizes the role of a Data Scientist or other expert in
      generation of a predictive ensemble

(Appx28, 10:8-10)




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      2.    More effective and efficient predictive ensembles. The ‘446

specification states the following about how the invention improves the efficiency

and effectiveness of predictive ensembles:

      the predictive compiler module 206 . . . may iteratively increase the
      number of features used to generate predictive ensembles 304 until an
      increase in effectiveness or usefulness of the results of the generated
      predictive ensembles 304 fails to satisfy a feature effectiveness
      threshold. By increasing the number of features until the increases stop
      being effective . . . the predictive compiler module 206 may determine
      a minimum effective set of features for use in a predictive ensemble
      304, so that generation and use of the predictive ensemble 304 is both
      effective and efficient.

(Appx29, 12:39-51)

      the function generator module 204 ensures that at least a subset of the
      generated learned functions, either individually or in combination, are
      useful, suitable, and/or effective for the training data without careful
      curation and fine tuning by a Data Scientist or other expert.

(Appx28, 9:61-65)

      At each iteration, the function evaluator module 312 may determine an
      overall effectiveness of the learned functions in aggregate for the
      current iteration's selected combination of features.

(Appx30, 13:11-14)

      the metadata library 314 may index evaluation metadata by learned
      function, by feature, by instance, by training data, by test data, by
      effectiveness, and/or by another category 30 or attribute and may
      provide query access to the indexed evaluation metadata.

(Appx32, 17:28-32)




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      3.     Excludes or reduces noise from predictive ensembles. The ‘446

specification states the following about how the invention reduces noise from

predictive ensembles:

      [O]nce the feature selector module 302 determines that a feature is
      merely introducing noise, the predictive compiler module 206 excludes
      the feature from future iterations, and from the predictive ensemble
      304.

(Appx29, 12:55-59)

      4.     Optimizes overhead of predictive ensembles. The ‘446 specification

states the following about how the invention optimizes the overhead of predictive

ensembles:

      the feature selector module 302 determines which features of
      initialization data to use in the predictive ensemble 304, and in the
      associated learned functions, and/or which features of the initialization
      data to exclude from the predictive ensemble 304, and from the
      associated learned functions. As described above, initialization data,
      and the training data and test data derived from the initialization data,
      may include one or more features. Learned functions and the predictive
      ensembles 304 that they form are configured to receive and process
      instances of one or more features. Certain features may be more
      predictive than others, and the more features that the predictive
      compiler module 206 processes and includes in the generated predictive
      ensemble 304, the more processing overhead used by the predictive
      compiler module 206, and the more complex the generated predictive
      ensemble 304 becomes. 304.

(Appx29, 11:45-60)

      5.     Higher and optimized confidence metrics. The ‘446 specification states

the following about how the invention improves or optimizes confidence metrics:


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      the predictive correlation module 318 determines one or more features,
      instances of features, or the like that correlate with higher confidence
      metrics (e.g., that are most effective in predicting results with high
      confidence). The predictive correlation module 318 may cooperate
      with, be integrated with, or otherwise work in concert with the feature
      selector module 302 to determine one or more features, instances of
      features, or the like that correlate with higher confidence metrics.

(Appx30, 13:19-27)

      The predictive correlation module 318 . . . is configured to harvest
      metadata regarding which features correlate to higher confidence
      metrics, to determine which feature was predictive of which outcome
      or result, or the like.

(Appx30, 13:35-39)

      In determining features that are predictive, or that have a greatest
      contribution to a predicted result or confidence metric, the predictive
      correlation module 318 may balance a frequency of the contribution of
      a feature and/or an impact of the contribution of the feature. For
      example, a certain feature or set of features may contribute to the
      predicted result or confidence metric frequently, for each instance or
      the like, but have a low impact. Another feature or set of features may
      contribute relatively infrequently, but has a very high impact on the
      predicted result or confidence metric (e.g. provides at or near 100%
      confidence or the like). While the predictive correlation module 318 is
      described herein as determining features that are predictive or that have
      a greatest contribution, in other embodiments, the predictive correlation
      module 318 may determine one or more specific instances of a feature
      that are predictive, have a greatest contribution to a predicted result or
      confidence metric, or the like.

(Appx30, 14:9-25)

      The predictive ensemble taught by the ‘446 Patent is also an improvement

over other predictive analytics modules, such as predictive voting systems. The

distinction was made during prosecution of the ‘446 Patent. In an April 8, 2014

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Office Action, the Patent Office rejected a number of the claims under 35 U.S.C.

103(a) referencing US 2008/0162487 A1 by Richter (“Richter”). (Exhibit A to Mot.

For Judicial Notice, 42:¶ 6) Richter disclosed a voting system based ensemble. In a

June 11, 2014 After Final Amendment and Response to Office Action (pgs. 15-16),

the ‘446 Patent applicant stated:

      The present amendments clarify that the synthesized rule set directs
      data such that different learned functions of the ensemble process
      different subsets of the data, such as different features/columns of data,
      different rows/instances of data, or both. For example, Fig. 5 of the
      Application depicts one embodiment of a predictive ensemble where
      different learned functions ( e.g., learned functions 502, combined
      learned functions 504, and extended learned functions 506) process
      different subsets of data ( e.g., different features/columns of data
      rows/instances, Features A-F, Features G-L, Features K-N, Features N-
      S, Features T-U, Features L-R). The ensemble methods mentioned in
      Fig. 13 of Richter, however, "voting," "average," "weighted average,"
      and "hueristic rules" [sic.] do not distinguish between learned functions,
      with all learned functions processing all data. Richter does not teach
      any synthesized rules for directing data through multiple learned
      functions of an ensemble so that different learned functions process
      different subsets of the data.

(Exhibit A to Mot. For Judicial Notice, 75-76:¶ 11)

      The distinction between the ‘446 predictive ensemble and a voting system

reflects a significant improvement in the predictive analytics data processing

technology. The division of workload data-processing labor by the predictive

ensemble of the ‘446 Patent, contrasted with other predictive analytics modules that

employ concurrent processing of the same data by each learned function, has a

number of advantages. Predictive analytics data will get processed quicker. Less

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power will be required to process the data. And classes or subsets of workload data

will get processed by the learned functions most suited for the data. Thus, the

predictive ensemble of the ‘446 Patent improves data processing time, reduces

power consumption, and improves effectiveness of predictive data processing.

      This is not a case of a “fundamental economic and conventional business

practice” or a “well-known method of organizing human behavior” being applied to

an ordinary computer as a tool. The claims are not abstract because they improve

analytics data processing technology and computer functionality.

      Accordingly, the dismissal order finding the asserted claims invalid under §

101 should be reversed.

      C.     The appealed claims satisfy Alice step 2; the district court did not
             properly apply the “inventive concept” test

      The district court erred in its application of the “inventive concept” test under

Alice step 2. Even if the appealed claims were directed to an abstract idea under Alice

step 1 – which they are not – the claims satisfy the “something more” or “inventive

concept” of Alice step 2.

      The Alice step 2 analysis entails a “search for an inventive concept––i.e., an

element or combination of elements that is sufficient to ensure that the patent in

practice amounts to significantly more than a patent upon the [ineligible concept]

itself.” Alice, 134 S. Ct. at 2355 (quoting Mayo, 132 S. Ct. at 1294) (internal

quotation marks and citations omitted). As noted in Bascom:

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      The inventive concept inquiry requires more than recognizing that each
      claim element, by itself, was known in the art. As is the case here, an
      inventive concept can be found in the non-conventional and non-
      generic arrangement of known, conventional pieces.

Bascom Global Internet Services, Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1350

(Fed. Cir. 2016).

      In its Alice step 2 analysis, the district court did not address the claim language

or properly consider the meaning of any specific element of any asserted claim,

particularly in view of the ‘446 specification. As discussed above, the district court

overly simplified the claims to abstract core features out of the claims. The district

court then erroneously used this overbroad abstraction of the claims for each

analysis, including its Alice step 2 analysis, instead of referring to the actual claim

language. For example, when evaluating whether an inventive concept could be

found in a combination of the elements of the asserted claims, the district court’s

analysis and finding consisted of:

      While [PurePredictive] claims that “the ordered combination of the
      claims” provides an inventive concept, there is nothing inventive about
      its particular arrangement. Instead, its claims recite the functional steps
      for collecting, analyzing, and refining data through mathematical
      algorithms. . . . [PurePredictive]’s technology, while perhaps an
      effective method, is simply an implementation of the basic concept of
      predictive analytics on an apparatus, computer program product, or
      other medium.

(Appx13:1-7)




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      Again, the district court’s overbroad abstraction wholly ignores core features

of the asserted claims, including the structured environment provided by the claimed

predictive ensemble (which provides division of labor among combined synthesized

learned functions and directs different subsets of data to different synthesized

learned functions for analytics data processing). No claim language was ever

addressed by the district court in this regard.

      The district court’s characterization of the claims as merely “recit[ing] the

functional steps for collecting, analyzing, and refining data through mathematical

algorithms” is wholly inaccurate and ignores the language of the claims. (Appx13:3-

4) Claim 1, for example is directed to a predictive analytics factory for forming a

predictive ensemble consistent with the ‘446 Patent. It is not directed to analyzing

data through mathematical algorithms.

      Claim 1 states, in relevant part:

      1. An apparatus for a predictive analytics factory, the apparatus
      comprising:

            a receiver module configured to receive training data for forming
      a predictive ensemble customized for the training data;

            a function generator module configured to pseudo-randomly
      generate a plurality of learned functions based on the training data
      without prior know ledge regarding suitability of the generated learned
      functions for the training data;

            a function evaluator module configured to perform an evaluation
      of the plurality of learned functions using test data and to maintain
      evaluation metadata for the plurality of learned functions, the

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      evaluation metadata comprising one or more of an indicator of a
      training data set used to generate a learned function and an indicator of
      one or more decisions made by a learned function during the evaluation;
      and

             a predictive compiler module configured to form the predictive
      ensemble, the predictive ensemble comprising a subset of multiple
      learned functions from the plurality of learned functions, the multiple
      learned functions selected and combined based on the evaluation
      metadata for the plurality of learned functions, the predictive ensemble
      comprising a rule set synthesized from the evaluation metadata to direct
      data through the multiple learned functions such that different learned
      functions of the ensemble process different subsets of the data based on
      the evaluation metadata.

(Appx34, 22:56 – Appx35, 23:18) (emphasis added)

      It is clear from the language of claim 1 that is directed to a predictive analytics

factory for forming a predictive ensemble. The predictive ensemble of the ‘446

Patent includes combined learned functions, but is not a mathematical algorithm.

Rather a predictive ensemble of the ‘446 Patent is a predictive analytics module

providing a structured environment for predictive data processing. It is an

arrangement of combined learned functions in which relationships between subsets

of data and combined learned functions are defined by a metadata rules set. Thus,

different data subsets may be directed to different learned functions within the

predictive ensemble based on the metadata. Accordingly, the district court’s

characterization of claim 1 is erroneous.

      Similarly, and as discussed above, claim 14 is directed to the method for a

predictive analytics factory for forming a predictive ensemble consistent with the

                                            56
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‘446 specification. It is not directed to “the collection, analyzing, and refining of data

through a mathematical formulation.” As noted above, claim 14 states:

      14. A method for a predictive analysis factory, the method comprising:

            pseudo-randomly generating a plurality of learned functions
      based on training data without prior knowledge regarding suitability of
      the generated learned functions for the training data, the training data
      received for forming a predictive ensemble customized for the training
      data;

             evaluating the plurality of learned functions using test data to
      generate evaluation metadata indicating an effectiveness of different
      learned functions at making predictions based on different subsets of
      the test data; and

            forming the predictive ensemble comprising a subset of multiple
      learned functions from the plurality of learned functions, the subset of
      multiple learned functions selected and combined based on the
      evaluation metadata, the predictive ensemble comprising a rule set
      synthesized from the evaluation metadata to direct different subsets of
      the workload data through different learned functions of the multiple
      learned functions based on the evaluation metadata.

(Appx35, 24:21-41) (emphasis added)

      Similarly, claim 17 is directed to a computer program product for forming a

predictive ensemble consistent with the ‘446 specification. It is not directed to “the

collection, analyzing, and refining of data through a mathematical formulation.”

Claim 17 states:

      17. A computer program product comprising a non-transitory computer
      readable storage medium storing computer usable program code
      executable to perform operations for a predictive analysis factory, the
      operations comprising:



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                 pseudo-randomly determining a plurality of learned functions
          using training data without prior knowledge regarding suitability of the
          determined learned functions for the training data, the training data
          comprising a plurality of features, the training data received for forming
          a predictive ensemble customized for the training data;

                selecting a subset of the features of the training data based on
          evaluation metadata generated for the plurality of learned functions, the
          evaluation metadata comprising an effectiveness metric for a learned
          function; and

                 forming the predictive ensemble, the predictive ensemble
          comprising at least two learned functions from the plurality of learned
          functions, the at least two learned functions using the selected subset of
          features, the at least two learned functions selected and combined based
          on the evaluation metadata, the predictive ensemble comprising a rule
          set synthesized from the evaluation metadata to direct data through the
          at least two learned functions so that different learned functions process
          different features of the selected subset of features.

(Appx35, 24:54 – Appx36, 25:10) (emphasis added)

          The language of claim 23 is also strikingly inconsistent with the holding of

the district court. Claim 23 is directed to a predictive ensemble consistent with the

‘446 specification. Again, a predictive ensemble is not a mathematical algorithm.

Rather it provides a structured environment for predictive analytics data processing

in which the relationship between subsets of data and combined learned functions is

defined by a metadata rules set. Thus, claim 23 is not directed to “the collection,

analyzing, and refining of data through a mathematical formulation.” Claim 23

states:




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      23. A predictive analytics ensemble comprising:

             multiple learned functions synthesized from a larger plurality of
      learned functions, the multiple learned functions selected and combined
      based on evaluation metadata for an evaluation of the larger plurality
      of learned functions, wherein the larger plurality of learned functions
      are generated pseudo-randomly from training data without prior
      knowledge of a suitability of the larger plurality of learned functions
      for the training data;

            a metadata rule set synthesized from the evaluation metadata for
      the plurality of learned functions for directing data through different
      learned functions of the multiple learned functions to produce a result;
      and

             an orchestration module configured to direct the data through the
      different learned functions of the multiple learned functions based on
      the synthesized metadata rule set to produce the result.

(Appx36, 26:4-19) (emphasis added).

      Thus, the district court also erred by ignoring the language of the claims and

applying an overly broad abstraction of the claims without reference to core features

of the claimed invention. The district court also erred by not considering the actual

claim language when considering whether the claims included an “inventive

concept” under the Alice step 2 analysis.

      Accordingly, the dismissal order holding the asserted claims invalid should

be reversed.




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      D.     The district court did not apply the “clear and convincing”
             evidence standard under 35 U.S.C. § 282 or draw all reasonable
             inferences in favor of the plaintiff as required under Ninth Circuit
             precedent

       The district court legally erred by not applying the “clear and convincing”

evidence standard when it held the claims of the ‘446 Patent invalid. The district

court also erred by not drawing all reasonable inferences from the alleged intrinsic

evidence in favor of PurePredictive.

      “A patent shall be presumed valid. Each claim of a patent . . . shall be

presumed valid independently of the validity of other claims; dependent or multiple

dependent claims shall be presumed valid even though dependent upon an invalid

claim.” 35 U.S.C. § 282. The burden of establishing patent invalidity rests on the

party asserting invalidity. Id.

      Challenges to patent validity under § 101 must satisfy a “clear and

convincing” evidence standard. See Microsoft, 564 U.S. at 103 (holding that the

presumption of validity under 35 U.S.C. § 282 requires the clear and convincing

evidence standard to apply to all validity challenges because “we must presume that

Congress intended to incorporate the heightened standard of proof, unless the statute

otherwise dictates” and nothing “suggests that Congress meant to ... enact a standard

of proof that would rise and fall with the facts of each case” (internal quotes

omitted)); CLS Bank, 717 F.3d at 1304-05 aff’d 134 S. Ct. 2347 (2014); DataTern,




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2015 WL 5190715 at *8–9 (applying the presumption of validity and the clear-and-

convincing standard in § 101 analysis).

      The district court’s Order dismissed the Complaint on grounds that the patent

claims are invalid under § 101. (Appx13:8-9) Yet the Order is devoid of any

reference to or discussion of 35 U.S.C. § 282, the presumption of patent validity, or

the burden to establish invalidity by “clear and convincing” evidence. See Microsoft

Corp, 564 U.S. at 103. (Appx2-13) Nothing in the Order suggests that the district

court’s determination of invalidity took into account the presumption of patent

validity by imposing the required “clear and convincing” evidence burden of proof

on defendant. Indeed, under the heading “Legal Standard”, the Order recites

numerous cases regarding pleading standards and motions to dismiss, such as Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) and Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). (Appx4:13-20) The Order even cites Genetic Techs. Ltd. v. Merial

L.L.C., 818 F.3d 1269, 1373 (Fed. Cir. 2016) for the proposition that “it is possible

. . . to determine patent eligibility under 35 U.S.C. § 101 on a Rule 12(b)(6) motion.”

(Appx5:1-4) But the Order is deafeningly silent about the “clear and convincing”

evidence standard for proving patent invalidity. (Appx4-5)

      To the contrary, the district court appeared to put the burden to prove validity

squarely on the patentee, PurePredictive. For example, despite numerous examples

that can be found throughout the specification and in the claims, the dismissal order


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asserts that PurePredictive “fails to identify any previously existing technology that

its claims improve upon, or that its claims do more than carry out regression analysis

and evaluation.” (Appx10:26-28) But no mention is made in the Order regarding

defendant’s burden, what evidence defendant proffered for invalidity, or whether or

not defendant met it burden to demonstrate invalidity.

      Defendant proffered no extrinsic evidence to support its assertion of

invalidity. Indeed, defendant’s arguments were based largely on “soundbites” from

the specification that were taken out of context. The district court, rather than

evaluate the claim language in view of the specification, adopted defendant’s

conclusory assertions about the claims. For example, defendant asserted that the

claims were “directed to the manipulation of mathematical functions.” (Appx126:8)

Defendant argued that claim construction was unnecessary and proffered its

overbroad abstraction in nigh conclusory fashion. (Appx124:22-26). And the district

court accepted defendant’s overbroad abstraction of the claims without considering

the core features of the claims in view of the ‘446 specification.

      Thus, the district court legally erred by finding the claims of the ‘446 Patent

invalid without application of the “clear and convincing” evidence standard of proof.

      Furthermore, a copy of the ‘446 Patent was included as part of the Complaint

(i.e., as part of the allegations). (Appx57-80) The Complaint alleges that the ‘446

Patent is valid and enforceable. (Appx48:3). Thus, intrinsic evidence of the meaning


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of the asserted claims and supporting claim validity comprise part of the factual

allegations set forth in the Complaint. Under Ninth Circuit precedent, the district

court was required to “accept[] the plaintiff’s allegations as true and draw[] all

reasonable inferences in favor of the plaintiff.” (Appx4:20-22). See Usher, 828 F.2d

at 561 (9th Cir. 1987). Thus, the district court should have drawn all reasonable

inferences from the intrinsic evidence, e.g., the specification and claims, in favor of

PurePredictive. Yet the Order did not meaningfully analyze, taking as true and in its

best light favorable to PurePredictive, what the ‘446 specification teaches about the

claims at issue and their benefits. The district court legally erred by finding the

claims of the ‘446 Patent invalid without drawing all reasonable inferences from the

intrinsic evidence in favor of PurePredictive.

      Accordingly, the district court’s finding that the claims of the ‘446 Patent are

invalid should be reversed.

      E.     The district court erroneously held all claims invalid; amendment
             of the Complaint would not be futile

      PurePredictive’s Complaint alleges that defendant “infringes one or more

claims” of the ‘446 Patent. (Appx48:10-11) Even though the Complaint identifies 1,

14, 17, and 23 as examples of claims that are infringed, PurePredictive’s

infringement action was not intended to be limited to the independent claims. But

the dismissal order held that “[a]mendment would be futile in light of the analysis

above.” (Appx13:12)

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      In essence, the district court held all claims of the ‘446 Patent invalid without

considering any dependent claim language covering core features of the claimed

invention. This is contrary to the plain language of 35 U.S.C. § 282, which states

that: “Each claim of a patent . . . shall be presumed valid independently of the validity

of other claims; dependent or multiple dependent claims shall be presumed valid

even though dependent upon an invalid claim.” 35 U.S.C. § 282.

      There are numerous dependent claims claiming additional core features that

defendant infringes. By way of example, dependent claim 12 (depends to claim 1)

includes the following language:

      12. The apparatus of claim 1, further comprising an orchestration
      module configured to direct workload data through the predictive
      ensemble based on the evaluation metadata data to produce a
      classification for the workload data and a confidence metric for the
      classification, the evaluation metadata synthesized to form the rule set
      for the subset of learned functions.

(Appx35, 24:7-13)

      Notably, claim 12 not only covers the orchestration module for directing

workload data through the structured environment of the predictive ensemble, but

also includes the classification of data and providing a confidence metric for said

classification. In other words, claim 12 is directed to transformation of data by the

predictive ensemble, which is clearly patent eligible under § 101. In re Bilski, 545

F.3d at 963; see Abele, 684 F.2d 902 (upholding invention that takes X-ray

attenuation data and displays it in visual form on a screen). Thus, even if amendment

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to the Complaint were required to assert the dependent claims, such amendment

would not be futile.

      Accordingly, the dismissal order should be reversed.

         CONCLUSION AND STATEMENT OF RELIEF SOUGHT

      For the reasons stated herein, PurePredictive respectfully requests that this

Court reverse the final judgment entered by district court and hold each of the

claims-at-issue patent eligible under § 101.


Dated: January 12, 2018         Respectfully submitted,

                                By:    /s/ Perry S. Clegg
                                       Perry S. Clegg
                                       R. Jeremy Adamson
                                       KUNZLER, PC
                                       50 W. Broadway, Suite 1000
                                       Salt Lake City, Utah 84101
                                       Tel: (801) 994- 4646
                                       pclegg@kunzlerlaw.com
                                       Counsel for Appellant PurePredictive, Inc.




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                 CERTIFICATE OF FILING AND SERVICE

      I hereby certify that, on January 12, 2018, I electronically filed the foregoing

APPELLANT’S APPEAL BRIEF with the Clerk of Court using the CM/ECF

System, which will send notice of such filing to all registered users.

      I further certify that, upon acceptance and request from the Court, the required

paper copies of the foregoing will be deposited with United Parcel Service for

delivery to the Clerk, UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT,

717 Madison Place, N.W., Washington, D.C. 20439.

      The necessary filing and service were performed in accordance with the

instructions given to me by counsel in this case.

Dated: January 12, 2018                /s/ Priscilla C. Winkler
                                       Priscilla C. Winkler
                                       GibsonMoore Appellate Services, LLC
                                       Post Office Box 1460
                                       Richmond, VA 23218
                                       (804) 249-7770
                                       www.gibsonmoore.net




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                    CERTIFICATE OF COMPLIANCE

1.   This brief complies with the type-volume limitation of Fed. R. App. P.
     32(a)(7)(B) because:

           this brief contains 13,976 words, excluding the parts of the brief
           exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

2.   This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)
     and the type style requirements of Fed. R. App. P. 32(a)(6) because:

           this brief has been prepared in a proportionally spaced typeface using
           Microsoft Word in 14 point Times New Roman.


Dated: January 12, 2018              Respectfully submitted,
                              By:    /s/ Perry S. Clegg
                                     Perry S. Clegg
                                     KUNZLER, PC
                                     50 W. Broadway, Suite 1000
                                     Salt Lake City, Utah 84101
                                     Tel: (801) 994- 4646
                                     pclegg@kunzlerlaw.com
                                     Counsel for Appellant PurePredictive, Inc.




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                 ADDENDUM
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U.S. Patent No. 8,880,446 ...........................................................................Appx14




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                     4                                 UNITED STATES DISTRICT COURT

                     5                                NORTHERN DISTRICT OF CALIFORNIA

                     6
                          PUREPREDICTIVE, INC.,
                     7                                                       Case No. l 7-cv-03049-WHO
                                         Plaintiff,
                     8
                                  v.                                         JUDGMENT IN A CIVIL CASE
                     9
                          H20.AI, INC.,                                      Re: Dkt. No. 31
                    10
                                         Defendant.
                    11

          ro        12
'§ "§
  0 c.8             13          Pursuant to the Court's Order Granting Hwo.AI, Inc.'s motion to dismiss, Judgment is
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-~ u                14   accordingly entered in favor defendant of the and against plaintiff.
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                         Dated: August 30, 2017                               Susan Y. Soong, Clerk
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                                                               Appx1
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                    2

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                    4                                   UNITED STATES DISTRICT COURT

                    5                                  NORTHERN DISTRICT OF CALIFORNIA

                    6

                    7    PUREPREDICTIVE, INC.,                               Case No. l 7-cv-03049-WHO
                                          Plaintiff,
                    8
                                                                             ORDER GRANTING H20.AI, INC.'S
                                 V.
                    9                                                        MOTION TO DISMISS

                   10    H20.AI, INC.,                                       Re: Dkt. No. 14
                                          Defendant.
                   11

         ~         12
'§ "§
  0 t8             13                                           INTRODUCTION
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.~ u               14           Plaintiff PUREPREDICTIVE, Inc. ("PPI") brings this action against H20.AI, Inc. ("H20")
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o"' ·;;:-u         15   for direct and induced infringement of U.S. Patent No. 8,880,446 ("the ' 446 Patent"). H20 moves
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C/')
                   16   to dismiss PPI's claims, arguing that the '446 Patent is invalid because its claims are directed to
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::: ...c           17   patent-ineligible concepts under 35 U.S.C. § 101. Because PPI's claims are directed to the
  t:l t:
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         z         18   abstract concept of the manipulation of mathematical functions and make use of computers only as

                   19   tools, rather than provide a specific improvement on a computer-related technology, I GRANT

                   20   H20's motion to dismiss the Complaint.

                   21                                            BACKGROUND

                   22      I.         Factual Backgr ound

                   23      A. The ' 446 Patent

                   24           The '446 Patent, titled "PREDICTIVE ANALYTICS FACTORY," relates to "an

                   25   automated factory for predictive analytics." Complaint ("Compl.") Ex. A ("The '446 Patent") at

                   26   1: 15-16 [Dkt. No. 1-1 ]. It describes that while"[d]ata analytics models are typically highly tuned

                   27   and customized for a particular application11 requiring "complex manual tools,11 such customized

                   28   models are "typically useless or at least inaccurate for other applications and fields." id. at 1:20-




                                                              Appx2
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                        32. On the other hand, "a general purpose analytics framework typically is not specialized enough

                    2   for most applications without substantial customjzation." Id. at 1:32-34. There is thus a need for

                   3    "an apparatus, system, method, and computer program product to generate a predictive ensemble

                   4    in an automated manner .. . regardless of the particular field or application, with tittle or no input

                   5    from a user or expert." Id. at I :38-45. The '446 Patent purports to fill this gap.

                   6           Claim 14 is representative of the method, and recites the following elements:

                    7          A method for a predictive analysis factory, the method comprising:
                               pseudo-randomly generating a plurality of learned functions based on training data without
                   8
                                      prior knowledge regarding suitability of the generated learned functions for the
                    9                 training data, the training data received for forming a predictive ensemble
                                      customized for the training data;
                   10          evaluating the plurality of learned functions using test data to generate evaluation metadata
                                      indicating an effectiveness of different learned functions al making predictions
                   11                 based on different subsets of test data; and
                               forming the predictive ensemble comprising a subset of multiple learned functions from
         ~         12
'§ "§                                 the plurality of learned functions, the subset of multiple learned functions selected
  0 t8             13                 and combined based on the evaluation metadata, the predictive ensemble
u...... :.=co                         comprising a rnle set synthesized from the evaluation metadata to direct different
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.b 4-                                 subsets of the workload data through different learned functions of the multiple
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                                      learned functions based on the evaluation metadata.
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 Q) .....
...... (/)              Compl. ~ 17. Put very simply, the method performs predictive analytics in three steps. First, it
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         c:
         i....          receives data and generates " learned functions," or, for example, regressions from that data. See
 Q)      Q)
::: ...c           17
 t:l     t:             '446 Patent at 8:66- 9: 12. Second, it evaluates the effectiveness of those learned functions at
;::::i
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                        making accurate predictions based on the test data. Finally, it selects the most effective learned
                   19
                        functions and creates a rule set for additional data input. These three steps comprise the predictive
                  20
                        analytics factory's method. Claim 1 recites a module-based apparatus for this predictive analytics
                  21
                        factory, Compl. ~ 16, Claim 17 recites a computer program product to perform the operations of
                  22
                        the predictive analytics factory, Compl. ~ 18, and Claim 23 recites a predictive analytics ensemble,
                  23
                        Compl. ~ 19.
                  24
                           B. The Parties and Procedural Background
                  25
                               PPI is a technology company that uses artificial intelligence to provide insight into
                  26
                        business's data through the use of predictive modeling. Compl.11117-8. It is the owner of the '446
                  27
                        Patent. Id. ~ 11. H20 is an open-source software company that provides a machine learning
                  28
                                                                           2



                                                              Appx3
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                          Case 3:17-cv-03049-WHO Document 31 Filed 08/29/17 Page 3of12




                        platform called "H20 with AutoML," integrated with applications and data products. Id.~~ 9, 15.

                    2   PPI alleges that H20 with AutoML infringes on Claims 1, 14, 17, and 23 of the ' 446 Patent. Id. ~

                    3   20. H20's website, which includes links to source code documentation, tutorials, videos,

                   4    examples, and presentations about the p latform, reinforces PPI' s belief that the platform infringes

                    5   on its claims. Id.~~ 21-36. On May 24, 2017, PPI informed H20 of the '446 Patent and PPI's

                    6   belief that II20' s machine learning platform uses one or more apparatuses, methods, program

                    7   products, and systems covered by the patent. Id. if 14.

                   8             PPI filed suit against H20 on May 26, 2017, alleging both direct infringement of the '446

                    9   Patent as well as induced infringement of the '446 Patent through the H20 with AutoML platform.

                   10   H20 now moves to dismiss PPI's Complaint.

                   11                                           LEGAL STANDARD

         ~         12            Under Federal Rule of Procedure 12(b)(6), a district court must dismiss a complaint if it
'§ "§
  0 t8             13   fails to state a claim upon which relief can be granted. To survive a Rule 12(b)(6) motion to
u...... :.=co
.~ u               14   dismiss, the plaintiff must allege "enough facts to state a claim to relief that is plausible on its
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o"' ·;;:-u         15   face." Bell All. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is facially plausible when
 "'
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                   16   the plaintiff pleads facts that "allow[] the court to draw the reasonable inference that the defendant
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         c:
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 Q)      Q)
::: ...c           17   is liable for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation
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;::::i
         z0        18   omitted). While courts do not require "heightened fact pleading of specifics," a plaintiff must

                   19   allege facts sufficient to "raise a right to relief above the speculative level." Twombly, 550 U.S. at

                  20    555, 570. In deciding whether the plaintiff has stated a claim upon which relief can be granted,

                  21    the court accepts the plaintiffs allegations as true and draws all reasonable inferences in favor of

                  22    the plaintiff. See Usher v. City ofLos Angeles, 828 F.2d 556, 561 (9th Cir. 1987). The court is

                  23    not required to accept as true "allegations that are merely conclusory, unwarranted deductions of

                  24    fact, or unreasonable inferences." In re Gilead Scis. Sec. Litig. , 536 F.3d 1049, 1055 (9th Cir.

                  25    2008).

                  26             To state a claim for patent infringement, "a patentee need only plead facts sufficient to

                  27    place the alleged infringer on notice. This requirement ensures that the accused infringer has

                  28    sufficient knowledge of the facts alleged to enable it to answer the complaint and defend itself."
                                                                            3


                                                               Appx4
                 Case 2:25-cv-00260-AWA-DEM                Document 23-4          Filed 07/15/25       Page 84 of 115
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                        Phonometrics, Inc. v. Hosp. Franchise Sys., Inc., 203 F.3d 790, 794 (Fed. Cir. 2000). The Federal

                    2   Circuit has "repeatedly recognized that in many cases it is possible and proper to determine patent

                    3   eligibility under 35 U.S.C. § 10 1 on a Rule 12(b)(6) motion." Genetic Techs. Ltd. v. Merial

                   4    L.L.C. , 8 18 F.3d 1269, 1373 (Fed. Cir. 2016). In such circumstances where it is possible and

                    5   proper, "claim construction is not an inviolable prerequisite to a validity determination under §

                    6   101." Bancorp Servs., L.L.C. v. Sun Life Assurance Co. of Can., 687 F.3d 1266, 1273 (Fed. Cir.

                    7   2012).

                    8                                               DISCUSSION

                    9            Under Section I 01 of the Patent Act, "[w]hoever invents or discovers any new and useful

                   10   process, machine, manufacture, or composition of matter, or any new and useful improvement

                   11   thereof, may obtain a patent therefor .... " 35 U.S.C. § 101. The Supreme Court "has long held

         ~         12   that this provision contains an important implicit exception: Laws of nature, natural phenomena,
'§ "§
  0 t8             13   and abstract ideas are not patentable." Alice Corp. Pty. Ltd. v. CLS Bank Int '!, 134 S. Ct. 2347,
u...... :.=co
.~ u               14   2354 (2014). The reason for the exception is clear enough-"such discoveries are manifestations
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o"' ·;;:-u         15   of ... nature, free to all men and reserved exclusively to none." Mayo Collaborative Servs. v.
 "'
 Q)
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         (/)
 c:l3 ·Cl
...,    -
C/)
                   16   Prometheus Labs., Inc., 132 S. Ct. 1289, 1293 (2012) (internal quotation marks and citations
-0
         c:
         i....
 Q)      Q)
::: ...c           17   omitted). The boundaries of the exception, however, are not so clear.
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;::::i 0
         z         18            The Alice court highlighted " the concern that drives this exclusionary principle as one of

                   19   pre-emption." Alice, 134 S. Ct. at 2354 (noting the delicate balance inherent in promoting

                  20    progress, the primary object of patent law, and granting a monopoly, the means for accomplishing

                  21    that goal). In other words, patents that seek to wholly preempt others from u sing a law of nature

                  22    or an abstract idea- "the basic tools of scientific and technological work"-are invalid. Id.

                  23    "Accordingly, in applying the§ 101 exception, we must distingui sh between patents that claim the

                  24    buildin[g] block(s] of human ingenuity and those that integrate the building blocks into something

                  25    more, thereby transform[ing] them into a patent-eligible invention." Id. (internal quotation marks

                  26    and citations omitted).

                  27             In evaluating whether claims are patent eligible, I must first " determine whether the claims
                  28    at issue are directed to one of those patent-ineligible concepts." Alice, 134 S. Ct. at 2355. "LTJhe
                                                                           4



                                                               Appx5
                 Case 2:25-cv-00260-AWA-DEM                Document 23-4           Filed 07/15/25         Page 85 of 115
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                        ' directed to' inquiry applies a stage-one filter to claims, considered in light of the specification,

                    2   based on whether their character as a whole is directed to excluded subject matter." Enjish, LLC v.

                    3   Microsoft Corp., 822 F.3d 1327, 1335 (Fed. Cir. 2016) (internal quotation marks omitted).

                   4    Although there is no brightline rule for determining whether a claim is directed to an abstract idea,

                    5   courts have articulated some guiding principles. When evaluating computer-related claims, courts

                    6   look to whether the claims "improve the functioning of the computer itself," Alice, 134 S. Ct. at

                    7   2359, or whether "computers arc invoked merely as a tool" to implement an abstract process.

                    8   Enfish, 822 F.3d at 1336.

                    9           If the claims are directed to a patentsineligible concept, I must then "consider the elements

                   10   of each claim both individua lly and as an ordered combination to determine whether the additional

                   11   elements transfmm the nature of the claim into a patent-eligible application." Id. at 1334 (internal

         ~         12   quotation marks and citations omitted). This step entails the "search for an inventive concept-
'§ "§
  0 t8             13   i.e., an element or combination of elements that is sufficient to ensure that the patent in practice
u...... :.=co
.~ u               14   amounts to significantly more than a patent upon the [ineligible concept] itself." Alice, 134 S. Ct.
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         0
o"' ·;;:-u         15   at 2355 (internal quotation marks and c itations omitted). "For the role of a computer in a
 "'
 Q)
......   .....
         (/)
 c:l3 ·Cl
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                   16   computer-implemented invention to be deemed meaningful in the context of this analysis, it must
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         c:
         i....
 Q)      Q)
::: ...c           17   involve more than performance of well-understood, routine, [and) conventional activities
 t:l     t:
;::::i
         z0        18   previously known to the industry." Content Exlraclion & Transmission LLC v. Wells Fargo Bank,

                   19   NA., 776 F.3d 1343, 1347-48 (Fed. Cir. 2014). " [T]he mere recitation of a generic computer

                  20    cannot transform a patent-inelig ible abstract idea into a patent-elig ible invention." Id. at 1348.

                  21    However, "an inventive concept can be found in the non-conventional and non-generic

                  22    arrangement of known, conventional pieces." BASCOM Glob. Internet Servs., Inc. v. AT&T

                  23    Mobility LLC, 827 F.3d 1341, 1350 (Fed. Cir. 2016).

                  24       I.      Whether the Claims Are Directed to Patent-Ineligible Concepts

                  25            l-120 asserts that PPI's claims are directed to patent-ineligible concepts because they are

                  26    directed to an abstract mathematical process for testing and refining algorithms, citing several

                  27    cases in support of its assertion. They characterize PPI's patent as an attempt to monopolize the

                  28    use of basic mathematical manipulations without reference to any specific implementation,
                                                                            5



                                                               Appx6
                 Case 2:25-cv-00260-AWA-DEM               Document 23-4          Filed 07/15/25        Page 86 of 115
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                        application, purpose, or use. PPI counters that its claims are not only directed to computer-related

                    2   technology but also solve a specific problem in and make improvements to computer-related

                    3   technology. It too offers various cases it claims support its position.

                   4           While the Federal Circuit has recognized " that it is not always easy to determine the

                    5   boundary between abstraction and patent-eligible subject matter," several of its cases have offered

                    6   guiding principles. lnlernet Patents Corp. v. Active Network, Inc., 790 F.3d 1343, 1347 (Fed. Cir.

                    7   2015); see also Parker v. Flook, 437 U.S. 584, 589 ( 1978) ("The line between a patentable

                    8   ' process' and an unpatentable 'principle' is not always clear."). H20 urges that this case is similar

                    9   to Synop.sys, Inc. v. Mentor Graphics C01p., in which the Federal Circuit addressed whether

                   10   certain asserted claims were directed to a mental process or to a computer-related technology. 839

                   11   F.3d 1138, 1146-51 (Fed. Cir. 2016). The patent at issue related to the logic circuit design

         ~         12   process and provided a scheme to translate functional descriptions of logic circuits into hardware
'§ "§
  0 t8             13   component descriptions, without the requirement of certain inte1mediary steps, through constructs
u...... :.=co
.~ u               14   known as control flow graphs and assignment conditions. Id. at 1139--40. Explaining that "[t]he §
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o"' ·;;:-u         15   l 01 inquiry must focus on the language of the Asserted Claims themselves," the court noted that
 "'
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         (/)
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                   16   while "the inventions ... were intended to be used in conjunction with computer-based designed
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         c:
         i....
 Q)      Q)
::: ...c           17   tools, the [claims] were not confined to that conception" and "(we]re devoid of any reference to a
  t:l t:
;::::i 0
         z         18   computer or an y other physical component." Id. at 1147, 1149. The claims, on their face, " d[id]

                   19   not call for any f01m of computer implementation of the claimed methods," and the patent holder

                  20    did not argue that the claims "must be construed as requiring a computer to perform the recited

                  21    steps." Id. at 1149.

                  22           PPI distinguishes its patent specification and claims from those in Synopsys, pointing to

                  23    various references to computers found in both. Instead, it suggests that I analyze the case under

                  24    Enjish, where the patents at issue were directed to "an innovative logical model for a computer

                  25    database" with a self-referential property, as opposed to the standard relational model. 822 F.3d at

                  26    1330. The Federal Circuit disagreed w ith the district court that the claims were directed to the

                  27    abstract idea of ''the concept of organizing information using tabular fonnats. 11 Id. at 1337. It

                  28    explained that "the claims Lwejre not simply directed to any form of storing tabular data, but
                                                                           6


                                                              Appx7
                 Case 2:25-cv-00260-AWA-DEM               Document 23-4           Filed 07/15/25         Page 87 of 115
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                        instead are specifically directed to a selfreferential table for a computer database." Id. The self-

                    2   referential table was "an improvement of an existing technology" in that it offered "increased

                    3   flexibility, faster search times, and smaller memory requirements." Id. The court contrasted this

                   4    claim to others that simply "recited use of an abstract mathematical formula on any general

                    5   purpose computer." Id. at 1338.

                    6           PPI also points to McRO, Inc. v. Bandai Namco Games America, Inc., where the patents

                    7   related to automating the process of 3-D animation of a character as it speaks. 837 F.3d 1299,

                    8   1303 (Fed. Cir. 2016). In examining whether the patent was directed to an abstract idea, the court

                    9   explained that the computer "perform[e]d a distinct process to automate a task previously

                   10   performed by humans" but went "beyond merely organizing [existing] infom1ation into a new

                   11   form or carrying out a fundamental economic process." Id. at 1314-15 (internal quotation marks

         ~         12   omitted). Instead, it "use[ d] a combined order of specific rules that renders information into a
'§ "§
  0 t8             13   specific format that is then used and applied to create desired results: a sequence of synchronized,
u...... :.=co
.~ u               14   animated characters." Id. at 1315. Thus, the court concluded that the claim was not directed to an
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"'
o-u                     abstract idea. Id. at 1316.
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 "'
 Q)
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                   16          Fair Warning IP, LLC v. Jatric Systems, Inc. is illustrative of a claim that the Federal
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         c:
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 Q)      Q)
::: ...c           17   Circuit did not consider an improvement of an existing technological process. 839 F.3d 1089
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         z         18   (Fed. Cir. 2016). It involved a patent on an invention that "collect[ed] information regarding

                   19   accesses of a patient's personal health information, analyze[d] the information according to one of

                  20    several rules (i.e., related to accesses in excess of a specific volume, accesses during a pre-

                  21    determined time interval, or accesses by a specific user) to determine if the activity indicate[d]

                  22    improper access, and provide[d] notification if it determines that improper access has

                  23    occurred." Id. at 1093. The court explained that "analyzing information by steps people go

                  24    through in their minds, or by mathematical algorithms, without more," are "essentially mental

                  25    processes within the abstract-idea category." Id. Similarly, "merely presenting the results of

                  26    abstract processes of collecting and analyzing information, without more (such as identifying a

                  27    particular tool for presentation), is abstract as an ancillaiy part of such collection and

                  28    analysis." id. Applied to that patent, the court concluded that the claims were "directed to a
                                                                           7



                                                               Appx8
                 Case 2:25-cv-00260-AWA-DEM               Document 23-4          Filed 07/15/25         Page 88 of 115
                                                           PageID# 258
                          Case 3:17-cv-03049-WHO Document 31 Filed 08/29/17 Page 8of12




                        combination of these abstract-idea categories," specifically, "collecting and analyzing info1mation

                    2   to detect misuse and notifying a user when misuse is detected." Id. at 1094. Although the claims

                    3   "us[ed] one of a few possible rules to analyze the audit log data," those rules were nonetheless

                   4    directed to an abstract idea. Id. The mere "use of the computer," rather than "the incorporation of

                    5   the claimed rules," was not enough to " improve [the] existing technological process." Id. The

                    6   Federal Circuit affirmed the district court's dismissal of the suit on the pleadings. Id. at 1097.

                    7          Turning to this case, I agree with H20 that PPI's claims arc directed to a menta l process

                    8   and the abstract concept of using mathematical algorithms to perform predictive analytics. The

                    9   method of the predictive analytics factory is directed towards collecting and analyzing

                   10   information. The first step, generating learned functions or regressions from data-the basic

                   11   mathematical process of, for example, regression modeling, or running data through an

         ~         12   algorithm-is not a patentable concept. See DDR Holdings, LLC v. Hotels.com, L.P. , 773 F.3d
'§ "§
  0 t8             13   1245, 1256 (Fed. Cir. 2014) ("We know that mathematical algorithms, including those executed
u...... :.=co
.~ u               14   on a generic computer, are abstract ideas."). That the "function generator module" described in
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o"' ·;;:-u         15   the ' 446 Patent " may generate hundreds, thousands, or millions of learned functions, or more,"
 "'
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         (/)
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C/)
                   16   ' 446 Patent at 9:55-57, does not change this conclusion. While PPI claims that this shows it
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 Q)      Q)
::: ...c           17   would be impossible for a human to perform such a task, just because a computer can make
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         z         18   calculations more quickly than a hwnan does not render a method patent eligible. See Bancorp

                   19   Servs., L.L.C. v. Sun Life Assurance Co. a/Canada (U.S.), 687 F.3d 1266, 1278 (Fed. Cir. 2012)

                  20    ("The computer required by some of Bancorp's claims is employed only for its most basic

                  21    function, the performance of repetitive calculations, and as such does not impose meaningful

                  22    limits on the scope of those claims."); Synopsys, 839 F.3d at 1146 ("Methods which can be

                  23    performed entirely in the human mind are unpatentable not because there is anything wrong with

                  24    claiming mental method steps as part of a process containing non-mental steps, but rather because

                  25    [they] embody the 'basic tools of scientific and technological work' that are free to all men and

                  26    reserved exclusively to none."). The patent specification's description of this process as a " brute

                  27    force, trial-and-en-or approach,11 reinforces that this process is merely the running of data through a

                  28    machine. '446 Patent, 10:6-10.
                                                                           8



                                                              Appx9
                 Case 2:25-cv-00260-AWA-DEM               Document 23-4          Filed 07/15/25        Page 89 of 115
                                                           PageID# 259
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                               The next steps of the method are similarly abstract. The method takes the learned

                    2   functions, evaluates their effectiveness, and selects those most effective to create a rule set. These

                   3    are mathematical processes that not only could be performed by humans but also go to the general

                   4    abstract concept of preclictive analytics rather than any specific application. Again, the patent

                   5    specification 's language reinforces this conclusion; it describes "an apparatus, system , method,

                   6    and computer program product [that] would comprise a predictive analytics factory configured to

                    7   generate a predictive ensemble regardless of the particular field or application." '446 Patent at

                   8    I :41-44 (emphasis added). These claims are similar to those in Synop5ys; that the claims "were

                    9   intended to be used in conjunction with computer-based design tools" did not save the broad and

                   10   abstract language of the asserted claims. Synopsys, 839 F.3d at 1149.

                   11          If I accept PPI's assertion that the claims are directed to a computer-related technology,

         ~         12   PPI still cannot show that its claims improve the functioning of a computer-related technology
'§ "§
  0 t8             13   rather than use computers as a tool. See Alice, 134 S. Ct. at 2359; Enfish, 822 F.3d at 1336.
u...... :.=co
.~ u               14   While PPI points to Claim 17 (which specifica lly references a "computer program product"), other
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o"' ·;;:-u         15   claims' use of the term " module," and the patent specification's reference to the learned functions
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                   16   comprising "a computer readable code," '446 Patent at 8:50-5 1, these few passing references to
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         c:
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 Q)      Q)
::: ...c           17   computers only show that the method uses the computer as a tool for automation of its process.
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;::::i 0
         z         18   See DDR Holdings, 773 F.3d at 1256 ("[R]ecitation of generic computer limitations does not make

                   19   an otherwise ine ligible claim patent-eligible. The bare fact that a computer exists in the physical

                  20    rather than purely conceptual realm is beside the point." (internal quotation marks and citations

                  21    omitted)).

                  22           In En.fish, for example, the claims improved upon the standard relational model w ith a new

                  23    type of self-referential database, which constituted more than "recited use of an abstract

                  24    mathematical formula on any general purpose computer." 822 F.3d at 1338. And in McRo, the

                  25    technology went beyond mere "organiz[a ti on] [of existing] information into a new form or

                  26    carrying out a fundamental economic process." 837 F.3d at 1314-15. But PPI fails to identify

                  27    any previously existing technology that its claims improve upon, or that its claims do more than

                  28    carry out regression analysis and evaluation. lnstead, its claims "merely presentlJ the results of
                                                                          9


                                                             Appx10
                 Case 2:25-cv-00260-AWA-DEM                Document 23-4           Filed 07/15/25        Page 90 of 115
                                                            PageID# 260
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                        abstract processes of collecting and analyzing infonnation" and "us[e] one of a few possible rules

                    2   to analyze the Odata." FairWarning, 839 F.3d at 1094.

                    3            PPl's claims are directed to the patent-ineligible abstract concept of testing and refining

                   4    mathematical algorithms. Whi le they may invoke computers as a tool for this process, the claims

                    5   do not make a specific improvement on an existing computer-related technology. Because PPI's

                    6   claims are directed to patent-ineligible concepts, I will move on to Alice's step two.

                    7      II.      W hether the Ad d ition a l E lements Tran sform t h e Natu re of t h e C la im into a

                    8               P atent-E ligible Application

                    9            H20 argues that PPI's claims do not contain an inventive concept sufficient to transform

                   10   them into a patent-eligible application. PPI counters that its claims contain both an

                   11   unconventional improvement in its field and an inventive concept through its ordered

         ~         12   combination. It likens its claims to those in DDR Holdings and BASCOM. It describes its claims
'§ "§
  0 t8             13   as aiming to "generate a predictive ensemble in an automated manner" with " little or no input
u...... :.=co
.~ u               14   from a user or expert," while still offering customization and finely tuned predictive ensembles.
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o"' ·;;:-u         15   Opp. at 19-20. PPI points out that its ensembles "do not need extensive tuning and
 "'
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                   16   customization" and "are applicable regardless of the particular field or application." Opp. at 20
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         c:
         i....
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         Q)
                   17   (internal quota6on marks omitted). It alleges that this process constitutes an unconventional
  t:l t:
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         z         18   solution in its field and that its particular anangement is an improvement to existing technology.

                   19            In DDR Holdings, the Federal Circuit examined a patent that claimed a technical solution

                  20    to the "Internet-centric problem" of third-party web merchants luring the host website's visitor

                  21    traffic away when visitors would click on merchants' advertisements. 773 F.3d at 1248, 1259.

                  22    The patents disclosed a system that created a new composite webpage displaying the product

                  23    information from the third-party merchant, but retaining the host website's "look and feel" and

                  24    allowing the host website to retain its visitor traffic. Id. at 1248--49. The court found that the

                  25    "new, hybrid webpage that merges content" from two sources and creates a "store within a store"

                  26    was an inventive solution to the problem of customer loss tied specifically to the Internet. Id. at

                  27    1257-58. The court explicitly "caution(ed], however, that not all claims purporting to address

                  28    Internet-centric challenges are eligible for patent." Id. at 1258.
                                                                           10


                                                              Appx11
                 Case 2:25-cv-00260-AWA-DEM                Document 23-4           Filed 07/15/25         Page 91 of 115
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                               It is easy to distinguish the present case. For starters, PPI does not claim that its patent is

                   2    Internet-centric, but instead that its claims are "necessarily rooted in computer technology'' and

                   3    "take place in a technological environment." Opp. at 18. The realm of computer technology or

                   4    technological environments is far broader than Internet-centric challenges. Moreover, while tbe

                   5    claims in DDR Holdings were directed to a ve1y specific problem-that allowing third-party

                   6    advertising on websites resulted in decreased visitor retention-here, PPI's claims address the

                   7    universal problem in any analytical framework of choosing between a more generally applicable

                   8    or more specific and customized model. And finally, while the solutions in DDR Holdings were

                   9    specifically engineered to construct a hybrid web page "stor[ing] visually perceptible elements

                   10   from the identified host website," 773 F.3d at 1257 (internal quotation marks omitted), PPI's

                   11   solutions remain the abstract mathematical processes of collecting and analyzing data. This is not

         ~         12   the unconventional or inventive solution necessary to satisfy the second step of Alice.
'§ "§
  0 t8             13          Nor are PPI's claims like those in BASCOM. In that case, the claims at issue were directed
u...... :.=co
.~ u               14   to "a content filtering system for filtering content retrieved from an Internet computer network."
.b 4-
         0
o"' ·;;:-u         15   827 F.3d at 1348 (internal quotation marks omitted). The filtering system was " located on a
 "'
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                   16   remote ISP server that ... allow[ed] individual network accounts to customize the filtering of
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                   17   Internet traffic associated with the account." Id. at 1345. While the Federal Circuit found that the
  t:l t:
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         z         18   claims were directed to the abstract idea of content fi ltration, they agreed with the patent holder

                   19   that they contained the inventive concept of " installation of a filtering tool at a specific location,

                  20    remote from end-users, w ith customizable filter features specific to each end user." Id. at 1350.

                  21    But the court again clarified that the "claims d[id] not merely recite the abstract idea of filtering

                  22    content along with the requirement to perform it on the Internet, or to perfonn it on a set of generic

                  23    computer components," because "[s]uch claims would not contain an inventive concept." Id.

                  24            PPI's claims cannot meet that showing. While the claims in BASCOM were specifically

                  25    tied not only to the Internet but also to the specific function of content filtration as well as concrete

                  26    locations, PPI's claims "merely recite the abstract idea of' predictive analytics " along with the

                  27    requirement to perform it on ... a set of generic computer components.ll BASCOM, 827 F.3d at

                  28    1350. PPl's claims do not describe specific system architecture, and references to generic
                                                                            11



                                                              Appx12
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                        "modules" do not provide any further specificity. While PPI claims that "the ordered combination

                    2   of the claims" provides an inventive concept, there is nothing inventive about its particular

                    3   arrangement. Instead, its claims recite the functional steps for collecting, analyzing, and refining

                   4    data through mathematical algorithms. As BASCOM explained, an inventive concept " must be

                    5   significantly more than the abstract idea itself." Id. at 1349. PPI's technology, while perhaps an

                    6   effective method, is simply an implementation of the basic concept of predictive analytics on an

                    7   apparatus, computer program product, or other medium.

                    8          Because PPI cannot show an inventive concept sufficient to transform its claims, its claims

                    9   fail as patent ineligible under Section 101.

                   10                                             CONCLUSION

                   11          For the reasons stated above, I GRANT H20's motion to dismiss the Complaint.

         ~         12   Amendment would be futile in light of the analysis above; leave to amend was not sought and will
'§ "§
  0 c.8            13   not be granted. Judgment shall be entered accordingly.
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-~ u               14          IT IS SO ORDERED.
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                                                             Appx13
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                                                                        oocu11Wll l l l lllnl~ llmllllI l l l l l
                                                                                                               US008880446B2


   c12)   United States Patent                                                              (10) Patent No.:                  US 8,880,446 B2
          Wellman et al.                                                                    (45) Date of Patent:                         Nov. 4, 2014

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   (72)    Inventors: Rich ard W. Wellma n, Park City. UT                                   8,214,308 B2. 7 2012 Chu ................................ 706 14
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   (73)    Assignee: Pure Predictive, Inc .. Sandy. UT (US)                                 8.370,279 Bl • 2'2013 Lin ct al .......................... 706 12
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                                                                                       Primary Examiner - Kakalo Chaki
   (51)    lot. C l.
           G06N 99100                     (2010.01)                                    Assistant Examiner - FW11ing Wu
   (52)    U.S. C I.                                                                   (74) Attorney. Agent. or Firm - Kunzler Law Group. PC
           CPC .................................... G06N99!005 (2013.01)
           USPC ............................................................ 706/12    (57)                       ABST RACT
   (58)    Field of C lassificat ion Search                                            An apparatus. system. method, and computer program prod-
           USPC .......................................................... .. 706/12   uct are disclosed for a predictive analytics factory. A receiver
           See application file for complete search history.                           module is configured to receive training data. A function
                                                                                       generato r module is configured to determine a p lurality of
   (56)                       Reforences C ited                                        learned functions from multiple classes based on the training
                                                                                       data. A predictive compiler module is configured to form a
                      U.S. PATENT DOCUMENTS                                            predictive ensemble comprising a subset of learned functions
                                                                                       from the plurality of learned functions. The subset of learned
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     100
       ~
                                                 108
                                                        Client
                                    Predictive
                                                         104
                                    Analytics
                                     Module
                                       102              Client
                                                         104



                                                                 104

                                    Data Network
                                        1Q2




                                    FIG. 1




                                    Appx16
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                              Predictive Analytics
                                    Module
                                       102


                                Data Receiver
                                   Module
                                       202


                                    Function
                                    Generator
                                     Module
                                       204

                                    Predictive
                                    Compiler
                                     Module
                                       206




                                    FIG. 2




                                    Appx17
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                             Predictive Analytics Module
                                           102

               Data            Function          Feature      Predictive
              Receiver         Generator         Selector     Correlation
              Module            Module           Module        Module
                 202             204               302            318


                                                             Predictive
                 Predictive Compiler Module
                                                             Ensemble
                               206
                                                                304

                                     Function
                 Combiner                                   Orchestration
                                     Evaluator
                  Module                                      Module
                                      Module
                       306                                      320
                                        312

                                                            Synthesized
                  Extender           Metadata
                                                             Metadata
                   Module             Library
                                                             Rule Set
                       308              314
                                                                322

                                     Function               Synthesized
                 Synthesizer
                                     Selector                 Learned
                   Module
                                     Module                  Functions
                       310
                                        316                     324




                                     FIG. 3




                                        Appx18
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       40~

                               Client           Client            Client         Client
                                104                104             104            104
                                 t                 t                t              t
          Predictive Analytics Module
                         102
                                                           ..
          Data Receiver
                                                   lnteriace Module
             Module
                                                          402
                 202
                                                                                                   ·~

                            Predictive A nalytics Factory
                                            404
                 _J_

                 Data                                                                              ''
             ~epository,1
                                                                                               Predictive
                                           Predictive Compiler Module
                                                                                               Ensemble
                                                         206
                 406                                                                              304

                 l
                             ..      ..                          Function
                                           Combiner                                           Orchestration
              Function                                           Evaluator
                                            Module       -r-+                                   Module
              Generator                                           Module
                                             306                                                  320
               Module                                               312
                 204
                 ;
              Feature                ..
                                        • -
                                           Extender
                                            Module
                                                                     ~
                                                                 Metadata
                                                                ~Library__,,1
                                                                                              Synthesized
                                                                                               Meta data
                                                                     -                    ~




              Selector                       308                    314
                                                                                          ~
                                                                                               Rule Set
              Module                                                                              322
                 302
                 ;
             Predictive              ..
                                        • Synthesizer
                                          - Module
                                                                     +
                                                                  Function
                                                                  Selector                    Synthesized
                                                                                                Learned
             Correlation                                          Module
                                             310                                               Functions
              Module                                                316
                                                                         I
                                                                                                  324
                 318
                                                                                                    t


                                                       FIG. 4




                                                       Appx19
Case 2:25-cv-00260-AWA-DEM                                                                  Document 23-4                                           Filed 07/15/25                                                 Page 99 of 115
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         50~



                                                                                            Predictive Ensemble
                                                                                                              304

                               Learned Functions                                                                       Combined Learned Functions
                                     502                                                                                                                           504

           f---Trees_5_62a-(Featu-re_s_A.:-F=y---;                                                                  f--Fo-re-sts-~-(Feafu-re_s_N_:sf-1


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           i                 (Features K-N)                                                               !
           !~~~~~~~.
           '~ ........................................................................................... J




                                                                               Extended Learned Functions
                                                                                          506
                                                                                                                        fR"~·g::rr-~-~~-;:~~~=svM-=:1
                                                                                                                        i Bayes Classifier 506b !
                                                                                                                        :'                       :'
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                                                                                                   FIG. 5




                                                                                                        Appx20
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               60~

                                     Begin



               602         Receive Training Data




                                     End




                                FIG. 6




                                     Appx21
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        70,                                     Begin



              New Ensemble ,...----<::
                Request


        704       Receive Training Data

                                                   732          Receive Workload Data

        706    Generate Learned Functions
                                                           Direct Workload Data through
                                                   734    Prescriptive Analytics Ensemble
               Evaluate Learned Functions,
        708
                   Generate Metadata

                                                          Generate Learned
        710     Combine Learned Functions
                                                ----         Functions

              Evaluate Combined Functions,
        714
                   Generate Metadata
                                                    71
                    Extend Combined                       Generate Learned
        716                                     -----        Functions
                    Learned Functions

               Evaluate Extended Functions,
        720
                    Generate Metadata

                     Select Subset of
        722
                    Learned Functions

                   Synthesize Selected
        724
                    Learned Functions

              Evaluate Synthesized Functions,
        726
              Generate Synthesized Metadata

                   Organize Subset into
        728
              Prescriptive Analytics Ensemble

                                                   730          Provide Result to Client


                                         FIG. 7




                                          Appx22
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           80~

                                               Begin




        806

               Combined Extended                                  Combined Learned
              Learned Functions A-F                                Functions G-M




         Synthesized           Vote Combined           RBM Extension
        Regression A,B              C-E                     N-R




                         820          Provide Result to Client




                                          FIG. 8




                                            Appx23
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                                                          US 8,880,446 B2
                                   1                                                                     2
            PREDICTlVE ANALYTICS FACTORY                                  ated learned functions for the training data. A method. in
                                                                          another embodiment. includes evaluatit1g a plurality of
             CROSS-REFERENCES TO RELATED                                  learned functions using test data to generate evaluation meta-
                          APPLICATJONS                                    data. In another embodiment, a method includes forming a
                                                                       5 predictive ensemble comprising a subset ofleamed functions
      lbis application claims the benefit of U.S. Provisional             from a plurality of learned functions. where the subset of
   Patent Application No. 61/727, 114 entitled "PREDICTIVE                learned fonctions are selected based on evaluation metadata.
   ANALYTICS FACTORY" and tiled on Nov. 15. 2012 for                         Computer program products are presented. comprising a
   Richard W. Wellman, et al., which is incorporated herein by            computer readable storage medium storing computer usable
   reference.                                                          10 program code executable to perform operations for a predic-
                                                                          tive analytics factory. Jn one embodiment. an operation
                        TECHNICAL FIELD                                   includes determining a plurality of learned functions using
                                                                          training data comprising a plurality offeatures. An operation,
      The present disclosure. in various embodimems. relates to           in another embodiment. includes selecting a subset of fea-
   analytics and more pa11icularly relates to an automated fac- 15 111res of1mining dala based on eval11a1ion metadata genera1ed
   tory for predictive analytics.                                         for a plura lity of learned functions. In a further embodiment.
                                                                          an operation includes fom1in g a predictive ensemble com-
                           BACKGROUND                                     prising at least two learned functions from a plurality of
                                                                          learned functions that use a selected subset of features.
      Data analytics models are typically highly tuned and cus- 20           A predictive analytics ensemble is presented. In one
   tomized for a particular application. Such tuning and cus-             embodiment. a predictive analytics ensemble includes a plu-
   tomization often requires pre-existing knowledge about the             rality of learned flmctions synthesized from a larger plurality
   particular application, and can require the use o f complex            o f teamed functions. In a fu 11her embodiment. a predictive
   manual tools to achieve this tuning and customization. For             analytics ensemble includes a metadata mle set synthesized
   example. an expert in a certain field may carefully tune and 25 from evaluation metadata for a plurality of learned ftmctions.
   customize an ana lytics model for use in the expert's field            A predictive analytics ensemhle. in another emhodimenl,
   using a manual tool.                                                   includes an orchestration module configured to direct data
      While a highly rnned. expert customized analytics model             through a plurality of learned ftmctions based on a synthe-
   may be useful for a particular application or field, because of        sized metadata mle set to produce a result.
   the high level of tuning and customization. the analytics 30              Reference throughout this specification to features. advan-
   model is typically useless or at least inaccurate for other            tages. or similar language does not imply that all of the
   applications and fields. Conversely. a general purpose analyt-         features and advantages that may be realized with the present
   ics framework typically is not specialized enough for most             disclosure should be or are in any single embodiment of the
   applications without substantial customization.                        disclosure. Rather. language referring to the features and
                                                                       35 advantages is understood to mean t11at a specific feature.
                             SUMMARY                                      advantage, or characteristic described in connection with an
                                                                          embodiment is included in a t least one embodiment of the
      From the foregoing discussion. it should be apparent that a         present disclosure. Thus. discussion of the features and
   need exists for an apparatus, system. method. and computer             advantages. and similar lang11age. throughout this specifica-
   program product to generate a predictive ensemble in an 4 0 lion may. but do not necessarily. refer to the same embodi-
   automated manner. Beneficially, such an apparatus. system.             ment.
   method. and computer program product would comprise a                     Furthermore. the described features. advantages. and char-
   predictive analytics factory configured to generate a predic-          acteristics of the disclosure may be combined in any suitable
   tive ensemble regardless of the particular field or application,       manner in one or more embodiments. The disclosure may be
   with little or no input from a user or expert.                      45 practiced without one or more of the specific features or
      ll1e present disclosure has been developed in response to           advantages of a particular embodiment. In other instances.
   the present state of the art. and in particular. in response to the    additiumil ft:alurt::; and advimtagt::; 1m1y bt: rt:cugui~t:<l i11
   problems and needs in the art that have not yet been fully             certain embodiments that may not be present in all embodi-
   solved by currently available analytics methods.Accordingly.           ments of tbe disclosure.
   the present disclosure has been developed to provide an appa- so These features and advantages of the present disclosure
   ratus. system. method. and computer program product for a              will become more fully apparent from the following descrip-
   predictive analytics factory that overcome many or all of the          tion and appended claims. or may be learned by the practice
   above-discussed shortcomings in the art.                               of the disclosure as set forth hereinafter.
      Apparatuses are presented for a predictive analytics fac-
   tory. In one embodiment. a receiver module is configured to ss                 BRIEF DESCRJPTION OFTI IE DRAWINGS
   receive training data. A function generator module, in certain
   embodiments. is configured lo determine a plurality of                    In order that the advantages oflhe disclosure will be readily
   learned flmctions from multiple classes based on the training          understood_ a more particular description of the disclosure
   data. A predictive compiler module. in a further embodiment,           briefly described above will be rendered by reference to spe-
   is configured to form a predictive ensemble comprising a 60 cific embodiments that are illustrated in the appended draw-
   subset ofleamed functions from the plurality ofleamcd !'unc-           ings. Understanding that these drawings depict only typical
   tions. In one embodiment. the subset of learned functions is           embodin1ents of t11e disclosure and are not therefore to be
   from at least two of the multiple classes.                             considered to be limiting of its scope. the disclosure will be
      Met bods are presented for a predictive analytics factory. Jn       described and explained with additional specificity a nd detail
   one embodiment. a method includes pseudo-randomly gen- 65 through the use of the accompanying drawings. in which:
   erating a plurality of learned functions based on training data           FJG. 1 is a schematic block diagram illustrating one
   without prior knowledge regarding suitability of the gencr-            embodiment of a system for a predictive ru1alytics factory:




                                                               Appx24
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                                 3                                                                   4
     FJG. 2 is a schematic block diagram illustrating one              medium may be. for exan1ple. but not limited to. an elec-
   embodiment of a predictive analytics module:                        tronic. magnelic, oplical. electrumagnelic, infrnred, or semi-
      FJG. 3 is a schematic block diagram illustrating another         conductor system. apparatus, or device. or any suitable com-
   embodiment of a predictive analytics module:                        bination of the foregoing.
      FIG. 4 is a schematic block diagram illustrating another 5          More specific ex3n1ples (a non-exhaustive list) of the com-
   embodiment of a system for a predictive analytics factory:          puter readable storage medium would include the following:
      FJG. 5 is a schematic block diagram illustrating one             a portable computer diskelle, a hard disk, a random access
   embodiment of learned functions for a predictive ensemble:          memory (RAM). a read-only memory (ROM). an erasable
      FJG. 6 is a schematic flow chart diagram illustrating one        programmable read-only memory (EPROM or Flash
   embodime111 of a method for a predictive analytics factory: 10 memory), a ponable compact disc read-only memory (CD-
      FIG. 7 is a schematic How chart diagram illustrating             ROM). a digital versatile disc (DVD). a Blu-ray disc. an
   another embodiment of a method for a predictive analytics           optical storage device. a magnetic tape, a Bernoulli drive. a
   factory; and                                                        magnetic disk. a magnetic stornge device. a punch card. inle-
      FJG. 8 is a schematic flow chart diagram illustrating one        grated circuits. other digital processi ng apparatus memory
   embodiment of a me1hod for directing rlaia through a predic- 15 devices, or any suitable combination of the foregoing. but
   tive ensemble.                                                      would not include propagating signals. Jn the context of this
                                                                       document. a computer readable storage medium may be any
                    DETAJLED DESCRJPTION                               tangible medium that can contain. or store a program for use
                                                                       by or in connection with an instruction execution system,
      Aspects of the present disclosure may he emhodied as a 20 apparan1s, or device.
   system. method or computer program product. Accordingly.               Computer program code for carrying out operations for
   aspects of the present disclosure may take the form of an           aspects of the present disclosure may be wrinen in any com-
   entirely hardware embodiment, an entirely sofiware embodi-          bination of one or more prog.rammi11g languages. i11cluding
   ment (i11cludiug firmware.. resident software. micro-code.          a11 object oriented progranuning la11gm1ge such as Javll.
   etc.) or an embodiment combining software and hardware 25 Python. C++ or the like and conventional procedural pro-
   aspects that may all generally be referred to herein as a "cir-     gramming languages. such as the "C" programming language
   cuit:· "module'' or "system:' Furthennore. aspects of the           or similar programming languages. The program code may
   present disclosure may take the form ofa computer progran1          execute entirely on the user's computer. partly on the user's
   product embodied in one or more computer readable storage           computer. as a stand-alone software package. partly on the
   media havi11g computer readable program code embodied 30 user's computer and partly on a remote computer or entirely
   thert."On.                                                          on the remote computer or server. In the latter scenario. the
      Many of the functional units described in this specification     remote computer may be connected to the user's computer
   have been labeled as modules. in order to more particularly         through any type of network, including a local area network
   emphasize their implemental ion independence. For example.          (LAN) or a wide area network (WAN). or the connection may
   a module may be implemented as a hardware circuit compris- 35 be made to an external computer (for example. through the
   ing custom VLSJ circuits or gate arrays, off-the-shelf semi-        Internet using an Internet Service Provider).
   conductors such as logic chips, transistors. or other discrete         Reference throughout this specification to "one embodi-
   components. A module may also be implemented in program-            ment," "an embodiment." or similar language means that a
   mable hardware devices such as tield programmable gate              particular foature, structure, or characteristic described in
   arrays. programmable array logic, programmable logic 40 connection with the cmbodimem is included in at leas1 one
   devices or the like.                                                embodimelll of the present d isclosure. Thus. appearances of
      Modules may also be implemented in software for execu-           the phrases "in one embodiment:' "in an embodiment:· and
   tion by various types of processors. An identified module of        similar la nguage throughout this specification may. but do not
   executable code may. for instance. comprise one or more             necessarily. all refer to the same embodiment. but mean "one
   physical or logical blocks of computer instructions which 45 or more but not a ll embodiments" unless expressly specified
   may. for instance, be organized as an object. procedure. or         otherwise. The terms "including." "comprising," "having,"
   function. Nevenheless. the executables of an identified mod-        and variations thereof mean "including but not limited lo"
   ule need not be physically located together, but may comprise       unless expressly specified otherwise. An enumerated listing
   disparate instructions stored in different locations which.         of items does not imply that any or all of the items are
   when joined logically together. comprise the module and so mutually exclusive and/or mutually inclusive, unless
   achieve the stated purpose for the module.                          expressly specified otherwise. The terms "a," "an." and "the"
      Indeed. a module of executable code may be a single              also refer 10 "one or more" unless expressly specified other-
   instmction. or many instmctions. and may even be distributed        wise.
   over several different code segments. an1ong different pro-            Furthermore. the described features. stmcnires. or charac-
   grams. and across several memory devices. Similarly, opera- ss teristics of the disclosure may be combined in any suitable
   tional data may be identified and illustrated herein within         manner in one or more embodiments. Jn U1e following
   modules, and may be embodied in any suitable form and               description. numerous specific details are provided. such as
   organized within any suitable type of data stmcnire. The            examples of programming. software modules. user selec-
   operational data may be collected as a single data set. or may      tions. network transactions, database queries, database struc-
   be distributed over difTerent locations including over difTerent 60 tures. hardware modules. hardware circuits. hardware chips,
   storage devices. and may exist, at least partially. merely as       etc.. to provide a thorough tmderstanding of embodiments of
   electronic signals on a system or network. Where a module or        the disclosure. However. the disclosure may be practiced
   portions of a module are implemented in software, the soft-         without one or more of the specific details. or with other
   ware portions are stored on one or more computer readable           methods. components. materials. and so forth. In other
   storage media.                                                   65 instances, well-known strucntres. materials, or operations are
      Any combination of one or more computer readable stor-           not shown or described in detail to avoid obscuring aspects of
   age media may be utili7..ed. A computer readable storage            the disclosure.




                                                            Appx25
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     Aspects of the present disclosure are described below with          functions or acts. or combinations of special purpose hard-
   refetence to schematic flowchart diagrams and/or schematic            ware mid computer inslructions.
   block diagrams of methods. apparatuses. systems, and com-                The description of elements in each fig11re may refer to
   puter program products according to embodiments of the                elements of proceeding figures. Like numbers refer to like
   disclosure. It will be understood that each block of the sche- 5 elements in all figures. including alternate embodiments of
   matic flowchart diagrams and/or schematic block diagrams,             like elements.
   and combinations o f blocks in the schematic flowchart dia-              FJG. 1 depicts one embodiment of a system 100 for a
   grams and/or schematic block diagrams. can be implemented             predictive analytics factory. The system 100. in the depicted
   by computer program instructions. These computer program              embodiment. includes a predictive analytics module 102 that
                                                                      10 is in communication with several clients 104 over a data
   instructions may be provided to a processor of a general
                                                                         network 106. and with several clients 104 over a local channel
   purpose computer, special purpose computer. or other pro-
                                                                         108. such as a system bus. an application programming inter-
   grammable data processing apparatus to produce a machine.
                                                                         face (AP!). or the like. A client 104 may comprise a so fl ware
   such that the instrnctions. which execute via the processor of        application. a user. a hardware compllling device with a pro-
   the computer or other programmable data processing appa- 1s cessor and memory. or another entity in commllllication with
   rarus. create means for implementing the functions/acts               the predictive analytics module 102. ln general. the predictive
   specified in the schematic flowchart diagrams and/or sche-            analytics module 102 generates predictive ensembles for the
   matic block diagrams block or blocks.                                 clients 104. In certain embodiments. the predictive analytics
      These computer program instrnctions may also be stored in          module 102 provides a predictive analytics framework allow-
   a computer readable storage medium that can direct a com- 20 ing clients 104 to request predictive ensemhles, to make
   puter, other programmable data processing apparatus. or               analysis requests. and to receive predictive results. such as a
   other devices to function in a particular manner. such that the       classification. a confidence metric. an inferred function. a
   instntctions stored in the computer readable storage medium           n.yession function, an answer. a prediction. a rccogniLed
   prudrn.:e m1 article of manufacture iucluding iuslructious            palleru. a rule. a recolllllleudation. or other results.
   which implement the function/act specified in the schematic 25           Predictive analytics is the study of past performance. or
   flowchart diagrams and/or schematic block diagrams block or           panems. folllld in historical and transactional data to identify
   blocks.                                                               behavior and trends in future events. This may be accom-
      The computer program instmctions may also be loaded                plished using a variety of statistical teclmiq11es including
   onto a computer. other progranm1able data processing appa-            modeling. machine learning. data mining. or the like.
   ratus. or other devices to cause a series of operational steps to 30     One term for large. complex. historical data sets is Big
   be perfonned on the computer, other programmable appara-              Data. Examples of Big Data include web logs. social net-
   tus or other devices to produce a computer implemented                works, biogs. system log files, call logs, customer data. user
   process such that the instructions which execute on the com-          feedback, or the like. These data sets may often be so large
   puter or other programmable appararus provide processes for           and complex t11at they are awkward and difficult to work with
   implementing the functions/acts specified in the flowchart 35 using traditional tools. With technological advances in com-
   and/or block diagram block o r blocks.                                puting resources, including memory. storage. and computa-
      The schematic flowchart diagrams and/or schematic block            tional power. along with frameworks and programming mod-
   diagrams in the Figures illustrate the architecture. function-        els for data-intensive distributed applications. the ability to
   ality. and operation of possible implementations of appara-           collect, analyze and mine these huge repositories of struc-
   tuses. systems. methods and computer program products 40 rured. unstrucntred, and/or scmi-scmcntred daia has only
   according to various embodiments of the present disclosure.           recently become possible.
   In this regard. each block in the schematic flowchart diagrams           Jn certain embodiments, prediction may be applied
   and/or schematic block diagrams may represellt a module.              through at least two general techniques: Regression and Clas-
   segment. or portjon of code. which comprises one or more              sification.
   executable instructions for implementing the specified logi- 45          Regression models attempt to fit a mathematical equation
   cal function(s).                                                      to approximate the relationship between the variables being
      lt should also be noted that. in some alternative implemen-        analyz:ed. These models may include " Discrete Choice" mod-
   tations. the functions noted in the block may occur out of the        els such as Logistic Regression. Multinomial Logistic
   order noted in the figures. For example, two blocks shown in          Regression. Prob it Regression. or the like. When factoring in
   succession may. in fact. be executed substantially concur- so time. Time Series models may be used. such as Auto Regres-
   rently, or the blocks may sometimes be executed in the reverse        sion- AR. Moving Average-MA. ARMA. AR Conditional
   order. depending upon the funct ionali ty involved. Other steps       Heteroskcdasticity- ARCH. Generalized ARCH-GAR.CH
   and methods may be conceived that are equivalent in func-             and Vector AR- V.J\R.). Other models include Survival or
   tion. logic. or effect to one or more blocks. or portions thereof.    Duration analysis, Classification and Regression Trees
   of the ill ustrated figures.                                       55 (CART), Multivariate Adaptive Regression Splines (MARS).
      Although various arrow types and line types may be                 and the like.
   employed in the flowchart and/or block diagrams, they arc                Classification is a form of ar6ficial intelligence that uses
   understood not to limit the scope of the corresponding                computational power to execute complex algorithms in an
   embodiments. Indeed, some arrows or other connectors may              effort to emulate human cognition. One underlying problem,
   be used to indicate only the logical flow of the depicted 60 however, remains: determining the set of all possible behav-
   embodiment. For instance. an arrow may indicate a waiting o r         iors given all possible inputs is much too large co be included
   monitoring period of unspecified duration between enumer-             in a set of observed examples. Classification methods may
   ated steps of the depicted embodiment. lt will also be noted          include Neural Networks. Radial Basis Ftmctions, Support
   that each block of the block diagrams and/or flowchart dia-           Vector Machines. Naive Bayes. k-Nearest Neighbors.
   grams. and combinations of blocks in the block diagrams 65 Geospatial Predictive modeling. and the like.
   and/or flowchart diagrams. can be implemented by special                 Each of these forms of modeling make assumptions about
   purpose hardware-based systems that perfom1 t11e specified            the data set and model the given data. however. some models




                                                             Appx26
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   are more accurate than others and none of the models arc              analysis module 102. Tue data receiver module 202 may
   ideal. HistoricaJly, usi11g predictive analytics tools was a cum-     support stntctured data. unstructured data. semi-structuroo
   bersome and difficult process, often involving the engage-            data or the like.
   ment of a Data Scientist or other expert. Any easier-to-use              One type of data that the data receiver module 202 may
   tools or interfaces for general business users. however. typi- 5 receive. as part of a new ensemble request or tbe like. is
   cally faJJ short in that they still require "heavy lifting" by IT     initialization data. The predictive analytics moduJe 102. in
   personnel in order to present and massage data and results. A         certain embodiments. may use initialization data to train and
   Data Scientist typically must determine the optimal class of          test learned functions from which the predictive analytics
   learuing machines that would be the most applicable for a             module 102 may build a predictive ensemble. 1.nitializatioo
                                                                      10 data may comprise l1is1orical data. statistics. Big Data. cus-
   given data set. and rigorously test the selected hypothesis by
                                                                         tomer da ta. marketing data. computer system logs, computer
   first fine-tuning the learning machine parameters and second
                                                                         application logs. data networking logs. or other data that a
   by evalua1ing results fed by trained data.
                                                                         client 104 provides tu tht! data receiver module 202 with
      Tue predictive analytics module 102, in certain embodi-            which to build. initialize. train. and/or test a predictive
   ments. generates predictive ensembles for the clients 104. 15 ensemble.
   with little or no input from a Data Scientist or other expert. by        Another type ofdata mat the data receiver module 202 may
   generating a large number ofleamed functions from multiple            receive. as part of an analysis request or the like. is workJoad
   different classes. evaluating. combining. and/or extending the        data. The predictive analytics module 102, in certain embodi-
   learned functions, synilicsizing selected learned fonctions.          ments. may process workload data using a predictive
   and organizing the synthesized learned functions into a pre- 20 ensemhle to ohtain a result. such as a classification, a confi-
   dictiveensemble. Tue predictive analytics module 102. in one          dence metric. an inferred function. a regression function. an
   embodiment. services analysis requests for the clients 104            answer. a prediction. a recognized panem. a rule, a recom-
   using the generated predictive ensembles.                             mendation. or the like. WorkJoad data for a spccilic predictive
      By gtmt!ntting a largt! 11wnbt!ruf1t!<lf1100 fuuctions. without    t!usernblt!. in out! t!rnbullirueut. has substantially tllt! sarnt!
   regard to d1e effectiveness of the generated learned functions, 25 format as d1e initialization data used to train and/or evaluate
   without prior knowledge of the generated learned functions            the predictive ensemble. For example. initialization data and/
   suitability, or the like, and evaluating the generated learned        or workload data may include one or more features. As used
   fonctions, in certain embodiments. the predictive analytics           herein, a feature may comprise a column, category, data rype.
   module 102 may provide predictive ensembles that are cus-             attribute. characteristic. label, or other grouping of data. For
   tomized and finely tuned for data from a specific client 104, 30 example. in embodiments w here initialization data and/or
   without excessive intervention or fine-tuning. TI1e predictive        workload data that is organized in a table fomlal. a column of
   anaJytics moduJe 102. in a further embodiment. may generate           data may be a feature. Initialization data and/or workload data
   and evaluate a large number of learned fonctions using par-           may include one or more instances of the associated features.
   allel computin~ on multiple processors. such as a massively           In a iable formal. where columns of data are associated with
   parallel processing (MPP) system or the like.                      35 features. a row of data is an instance.
      The predictive analytics module 102 may service predic-               As described below with regard to FIG. 4. in one embodi-
   tive analytics requests to clients J 04 locally. executing on the     ment, the data receiver module 202 may maintain client data,
   same host computing device as the predictive analytics mod-           such as initialization data a nd/or workload data, in a data
   ule 102, by providing an A.PI to clients 104. receiving func-         repository 406. where the function generator module 204. the
   tion calls from clients 104. providing a hardware command 40 predictive compiler module 206. or the like may access the
   interface to clien1s 104, or otherwise providing a local chan-        data. In certain embodiments. as described below. the func-
   nel 108 to clients 104. ln a further embodiment. the predictive       tion generator module 204 and/or the predictive compiler
   analytics module 102 may service predictive analytics                 module 206 may divide initialization data into subsets. using
   requests to clients 104 over a data network 106. such as a local      certain subsets of data as training data for generating and
   area network (LAN). a wide area network (WAN) such as ihe 45 training learned functions and using certain subsets of data as
   Internet as a cloud service. a wireless network. a wired net-         test data for eV3luating generated learned functions.
   work. or another data network 106.                                       Tue ftmction generator module 204. in certain embodi-
      FIG. 2 depicts one embodiment of a predictive analytics            ments. is configured to generate a pluraJity of learned func-
   module 102. The predictive analytics module 102 of FIG. 2.            tions based on training data from the data receiver module
   in certain embodiments. may be substantially similar to the so 202.A learned function. as used herein, comprises a computer
   predictive analytics moduJe 102 described above with regard           readable code that accepts an input and provides a resuJt. A
   to FlG. 1. ln the depicted embodiment. the predictive analyt-         learned function may comprise a compiled code. a script. text,
   ics module 102 includes a data receiver module 202. a func-           a data structure. a file. a function. or the like. Jn certain
   tion generator module 204. and a predictive compiler module           embodiments. a learned function may accept instances ofone
   206.                                                               55 or more features as input. and provide a result. such as a
      The data receiver module 202, in certain embodiments. is           classification. a confidence metric. an inferred function. a
   configured to receive client data. such as training data. test        regression function. an answer. a prediction. a recognized
   data. workload data, or the like. from a client 104, either           panem. a rule. a recommendation. or the like. In another
   directly or indirectly. Tue data receiver module 202. in vari-        embodiment. certain learned fonctions may accept instances
   ous embodiments, may receive daia over a local channel 108 60 of one or more features as input. and provide a subset of the
   such as an APL a shared library. a hardware command inter-            instances, a subset of me one or more features. or the like as
   face. or the like: over a data network 106 such as wired or           an output. lo a further embodiment. certain learned functions
   wireless LAN. WAN, the Internet. a serial coMection. a par-           may receive the output or result of one or more other learned
   allel connection. or the like. Jn certain embodiments. the data       functions as input. such as a Bayes classifier. a Boltzmann
   receiver module 202 may receive data indirectly from a client 65 machine, or me like.
   104 through an intermediate moduJe that may pre-process.                 Tue function generator module 204 may generate learned
   rcforn13t. or otherwise prepare the data for the predictive           functions from multiple different predictive analytics classes,




                                                               Appx27
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   models. or algorithms. For example. tl1e function generaror        ness or the suitability of the different predictive analytics
   module 204 may genernte decision trees: decision forests:          classes fur Lrnining data. the function generntor module 204.
   kernel classifiers and regression machines with a pluraliry of     in certain embodiments. may generate learned functions that
   reproducing kernels; non-kernel regression and classification      are useful. suitable. and/or effective for the training data due
   machines such as logistic. CART. muhi-layerneural nets with 5 lo the sheer amount oflearned functions generated from the
   various topologies; Bayesian-type classifiers such as Na"ive       different predictive analytics classes. This brute force. trial-
   Bayes and Boltzmann machines: logistic regression: multi-          and-error approach to generating learned fonctions, in certain
   nomial logistic regression: probit regression: AR: Mt\:            embodiments. eliminates or minimizes the role of a Data
   ARMA: ARCH: GARCH: V.'\R: st1Jvival or duration analy-             Scientist or other expert in generation of a predictive
   sis: MARS: radial basis functions: support vector machines: 10 ensemble.
   k-neares t neighbors: geospatial predictive modeling: and/or          The function generator module 204. in certain embodi-
   other classes of learned functions.                                ments. divides initjaJization data from the data receiver mod-
      ln one embodiment. the function gcncrntor module 204            ule 202 into various subsets of tr&ining data. and may use
   generates learned functions pseudo-randomly. witl1out regard       different training data subsets, different combinations of mul-
   to the effectiveness of the generated learned functions. with- 15 tiple training data subsets. or the like to generate different
   om prior knowledge regarding the suitability of the generated      learned functions. The function generator module 204 may
   learned fimctious for the associated i:raining data. or the li.ke. divide the initialization data into training data subsets by
   For example. the fonction generator module 204 may gener-          feature. by instance. or both. For example. a training data
   ate a total number of learned functions that is large enough       subset may comprise a subset offeatures of initialization data,
   that at least a suhset of the generated learned functions are 20 a suhset of features of initia li?ation data. a suhset of hoth
   statistically likely to be effective. As used herein. pseudo-      features and instances of initialization data. or the like. Vary-
   randomly indicates that the function generator module 204 is       ing the features and/or instances used to i:rain dilJerent
   configured to generate learned functions in an a utomated          learned functio11s. in certain embod iments. may further
   manner, without input ur selection of learned fllllctious. pre-    iucrease the likelillood tha t al least a subset of the geuernted
   dictive analytics classes or models for the learned functions, 25 learned functions are useful, suitable, and/or effective. In a
   or the like by a Data Scienrist. expert. or other user.            further embodiment. the function generator module 204
      The function generator module 204. in certain embodi-           ensures that the available initialization data is not used in its
   ments. generates as many learned functions as possible for a       entirety as training data for any one learned function. so that
   requested predictive ensemble. given one or more parameters        at least a portion of the initialization data is available for each
   or limitations. A cliem 104 may provide a parameter or limi- 30 learned :function as test data, which is described in greater
   tation for learned function generation as part of a new            detail below with regard to the function evaluator module 312
   ensemble request or the like to an interface module 402 as         ofFIG. 3.
   described below with regard to FIG. 4. such as an amount of           Jn one embodiment. the function generator module 204
   time: an allocation o f system resources such as a number of       may also generate additional learned functions in cooperation
   processor nodes or cores. or an amount of volatile memory: a 35 with the predictive compiler module 206. The function gen-
   number of learned :functions; mntime constraints on the            erator module 204 may provide a learned ftmction request
   requested ensemble such as an indicator of whether or not the      interface. allowing the predictive compiler module 206 or
   requested ensemble should provide results in real-time: and/       another module, a client 104. or the like to send a learned
   or another parameter or limitation from a client 104.              function request to the function generator module 204
      1l1e number of teamed functions that the function genera- 40 requesting thar rhe fimcrion generator module 204 generate
   tor module 204 may generate for building a predictive              one or more additional learned functions. Jn one embodiment,
   ensemble may also be limited by capabilities of the system         a learned fimction request may include one or more attributes
   100. such as a number of available processors or processor         for the requested one or more learned functions. For example,
   cores. a current load on the system 100, a price of remote         a learned function request. in various embodiments, may
   processing resources over the data network 106; or other 45 include a predictive analytics class for a requested learned
   hardware capabilities of the system 100 available to the func-     function. one or more features for a requested learned func-
   tion generator module 204. The function generator module           tion. instances from initialization data to use as training data
   204 may balance the hardware capabilities of the system 100        for a requested learned function. ruillime constraints on a
   with an amount of time available for generating learned func-      requested learned function, or the like. Jn another embodi-
   tions and building a predictive ensemble to determine how so ment, a learned function request may identify ini1ialization
   many learned functjons to generate for the predictive              data. training data, or the like for one or more requested
   ensemble.                                                          learned functions and the function generator module 2 04 may
      Jn one embodiment the function generator module 204             generate the one or more learned functions pseudo-randomly.
   may generate at least 50 learned functions for a predictive        as described above. based on the identified data.
   ensemble. In a further embodimem. the function generator ss           1l1e predictive compiler module 206. in one embodiment,
   module204 may generate hundreds. thousands. or millions of         is configured to form a predictive ensemble using learned
   learned functions. or more. for a predictive ensemble. By          ftmctions from the function generator module 204. As used
   generating an wmsually large nwnber of learned functions           herein_a predictive ensemble comprises an organized set of a
   from different classes without regard to the suitabiliry o r       plurality of learned functions. Providing a classification. a
   effectiveness of the generated learned functions for training 60 confidence metric, an inferred fltllCtion, a regression function,
   data. in certain embodiments. the function generator module        an answer, a prediction. a recognized pattern. a rule. a recom-
   204 ensures that at least a subset of the generated learned        mendation. or another result using a predictive ensemble. in
   functions. either individually or in combination, a re useful.     certain embodiments. may be more accurate than using a
   suitable. and/or effective for the training data without careful   single learned fltllction.
   curation and fine nming by a Data Scientist or other expert. 65       The predictive compiler module 206 is described in greater
      Similarly. by generating learned functions from different       detail below with regard to FIG. 3. The predictive compiler
   predictive analytics classes without regard to the effective-      module 206. in certain embodiments. may combine and/or




                                                              Appx28
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   extend learned f1mctions to fonn neo.i.r learned functions. may    metadata library 314 described below. For example. the func-
   r<!qut!St additional learned functions frum the function gen-      tion generntor mod ult! 204 may gent!ratea plurnlity ufleamoo
   erator module 204, or the like for inclusion in a predictive       functions for various combinations of features. and the pre-
   ensemble. lo one embodiment, the predictive compiler mod-          dictive compiler module 206 may evaluate the learned func-
   ule 206 evaluates learned functions from U1e function genera- 5 lions and generate evaluation rnctadata. Based on the evalu-
   tor module 204 using test data to generate evaluation meta-        ation rnetadata. the fearure selector module 302 may select a
   data. 111e predictive compiler module 206. in a further            subset offearures that are most accurate or effective. and the
   embodimenL may evaluate combined learned functions.                predictive compiler module 206 may use learned fonctions
   extended learned functions, combined-extended learned              that utilize lhe selected features to build the predictive
   functions, additional learned functions, or the like using test to ensemble 304. The feature selector module 302 may select
   data to generate evaluation metadata.                              features for use in tbe predictive ensemble 304 based on
      The predictive compiler module 206. in certain embodi-          evaluation metadata for learned functions from the function
   ments. maintains evaluation mctadata in a metadata library         gent!rdtur module 204. combined lcamL'<I functions from the
   3 14. as described below with regard to FIGS. 3 and 4 . The        combiner moduJe 306. extended learned functions from the
   predictive compiler module 206 may select learned functions 15 extender module 308. combined extended functions. synthe-
   (e.g. learned functions from tbe function generator module         sized learned functions from the synthesizer module 310. o r
   204. combined learned functions. extended learned func-            the like.
   tions. learned functions from different predictive analytics          In a further embodiment. the feature selector module 302
   classes. and/or combined-extended learned functions) for           may cooperate with the predictive compiler module 206 to
   inclusion in a predictive ensemble based on the evaluation 20 build a plurality of different predictive ensembles :l04 for the
   metadata. In a further embodiment. the predictive compiler         same initiali?.ation data or training data. each different pre-
   moduJe 206 may synthesize the selected learned Functions           dictive ensemble 304 utilizing different features of the initial-
   into a final. synthesized function or function set for a predic-   ization data or training data. The predictive compiler module
   tive eusemble based uu ev,duatiou me!Cldata. Tue predictive        206 way e\aluatt! each difforeut prooictive eusewblt! 304.
   compiler module 206. in another embodiment. may include 25 using the function evaluator module 312 described below. and
   synthesized evaluation metadata in a predictive ensemble for       the feature selector module 302 may select the predictive
   directing data through the predictive ensemble or the like.        ensemble 304 ru1d the associated features which are most
      FIG. 3 depicts another embodiment of a predictive analyt-       accurate or effective based on the evaluation metadata for the
   ics module 102. The predictive analytics module 102 of FIG.        different predictive ensembles 304. Jn certain embodiments,
   3. in certain embodiments. may be substantially similar to the 30 the predictive compiler module 206 may generate tens. hun-
   predictive analytics module I 02 described above with regard       dreds. thousands. millions. or more different predictive
   to FlGS. 1 and 2. In the depicted embodiment. the predictive       ensembles 304 so that the feantre selector module 302 may
   analytics module 102 includes the data receiver module 202.        select an optimal set offeatures (e.g. tbe most accurate. most
   the function ~eneralor module 204. and U1e predictive com-         effective, or the like) with little or no input from a Data
   piler module 206 described above with regard to FIG. 2 and 35 Scientist, expert, or other user in the selection process.
   further includes a fearure selector module 302 a predictive           In one embodiment. the predictive compiler module 206
   correlation module 318. and a predictive ensemble 304. The         may generate a predictive ensemble 304 for each possible
   predictive compiler module 206. in the depicted embodiment,        combination of features from which the feature selector mod-
   includes a combiner module 306. an extender module 308, a          ule 302 may select. In a further embodiment. the predictive
   synthesizer module 310. a function evaluator module 312. a 40 compiler module 206 may begin generating predictive
   metadata library 314. and a function selector module 316. The      ensembles 304 with a minimal munber of features, and may
   predictive ensemble 304. in the depicted embodiment.               iteratively increase the number of features used to generate
   includes an orchestration module 320, a synthesized meta-          predictive ensembles 304 until an increase in effectiveness or
   data ruJe set 322, and synthesized learned functions 324.          usefulness of the results of the generated predictive
      In one embodiment, the feature selector module 302 deter- 45 ensembles 304 fails to satisfy a feature effectiveness thresh-
   mines which feanires of initialization data to use in the pre-     old. By increasing the number of feantres until the increases
   dictive ensemble 304, and in the associated learned flmctions.     stop being effective. in certain embodiments. tbe predictive
   and/or which features of the initialization data to exclude        compiler moduJe 206 may determine a minimum effective set
   from ihe predictive ensemble 304. and from tbe associated          of feat11res for use in a predictive ensemble 304. so that
   learned hmctions. As described above. initiali?.ation data. and so generation and use of the predictive ensemble 304 is both
   the training data and test data derived from the initiaJiza1ion    effective and efficient. The feat11re effectiveness threshold
   data. may include one or more features. Learned functions          may be predetermined or hard coded. may be selected by a
   and the predictive ensembles 304 that they form are config-        client 104 as part of a new ensemble request or the like. may
   ured to receive and process instances of one or more features.     be based on one or more parameters or Iimitations, or the like.
   Certain features may be more predictive than others. and the ss       During the iterative process. in certain embodiments. once
   more features that the predictive compiler module 206 pro-         lhe feature selector module 302 determines that a feature is
   cesses and includes in the generated predictive ensemble 304.      merely introducing noise. the predictive compiler module
   the more processing overhead used by the predictive compiler       206 excludes the feature from future iterations. and from the
   module 206. and the more complex the generated predictive          predictive ensemble 304. In one embodiment. a client 104
   ensemble 304 becomes. Additionally. certain features may 60 may identify one or more features as required for tbc predic-
   not contribute to the e:ffoctiveness or accuracy of the results    tive ensemble 304, in a new ensemble request or the like. "lbe
   from a predictive ensemble 304, but may simply add noise to        fearure selector module 302 may include the required features
   the resu lts.                                                      in the predictive ensemble 304. and select one or more of the
      The feature selector modu le 302. in one embodiment.            remaining optional features for inclusion in the predictive
   cooperates with the function generator module 204 and tbe 65 ensemble 304 with tbe required features.
   predictive compiler module 206 to evaluate the effectiveness          In a further embodiment, based on evaluation metadata
   of various features, based on evaluation mctadata from the         from the mctadata library 314. the feature selector module




                                                             Appx29
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   302 determines which features from initialization data and/or          metric. In such embodiments, the predictive correlation mod-
   training data are a<l<ling noise, <1re not predictive, lire lht: least ule 318 may be part of. integrated with, or in communication
   effective, or the like, and excludes the features from the             with the predictive ensemble 304. The predictive correlation
   predictive ensemble 304. ln other embodiments. the feature             module 318 may cooperate with the predictive ensemble 304.
   selector module 302 may detem1ine which features enhance 5 such that the predictive cnsemble304 provides a listingofone
   the quality of results, increase effectiveness. or the like. and       or more features that provided a greatest contribution to a
   selects the features for the predictive ensemble 3 04.                 predicted result or confidence metric as part o f a response to
      ln one embodiment. the feature selector module 302 causes           an analysis request.
   the predictive compiler module 206 to repeat generating,                  lo determining features that are predictive. or that have a
   combining. extending. and/or evaluating learned li.mctioos 10 greatest contribution to a predicted result or confidence met-
   while iterating through permutations offean1re sets. At each           ric. the predictive correlation module 318 may balance a
   iteration, the function evaluator module 312 may determine             frequency of the contribution of a feature and/or an impact of
   an over.ill eITcctiveness oflhe le<1med functions in <1ggrt.-gatc      the contribution of the feature. For example. a certain foature
   for the current iteration's selected combination of features.          or set of features may contribute to the predicted result or
   Once the fearure selector module 302 identifies a feature as 15 confidence metric frequently. for each instance or the like. but
   noise introducing, the feature selector module may exclude             have a low impact. Another feanire or set of features may
   the noisy feature and the predictive compiler module 206 may           contribute relatively infrequently. but bas a very rugb impact
   generate a predictive ensemble 304 without the excluded                on the predicted result or confidence metric (e.g. provides at
   feature. In one embodiment. the predictive correlation mod-            or near 100% confidence or the like). While the predictive
   ule 3 1R de1em1ines one or more fearures. instances of fea- 20 correlation module 3 18 is descrihed herein as determining
   rures. or the like that correlate with higher confidence metrics       fearures that are predictive or that have a greatest contribu-
   (e.g.. that are most effective in predicting results with high         tion. in other embodimems. the predictive correlation module
   confidence). The predictive correlation module 318 may                 318 may determine one or more spcci fie instimccs of a fcature
   coopernlt: \\ ilh. be integrnted with. or otherwise work in            tb<1t are predictive, h<1ve a grt:<1test coulributfon to a predicted
   concert with the feature selector module 302 to detennineone 25 result or confidence metric. or the like.
   or more features. instances of feanires. or the like that corre-          lo the depicted embodiment. the predictive compiler mod-
   late with higher confidence metrics. For example. as the fea-          ule 206 includes a combiner module 306.111e combiner mod-
   ture selector module 302 causes the predictive compiler mod-           ule 306 combines learned functions. fanning sets. strings,
   ule 206 to generate and evaluate learned functions with                groups. trees. or clusters of combined learned functions. In
   different sets of features. the predictive correlation module 30 certain embodiments. the combiner module 306 combines
   318 may determine which features and/or instances of fea-              learned functio ns into a prescribed order. and different orders
   tures correlate with higher confidence metrics. are most effec-        of learned functions may have different inputs. produce dif-
   tive. or the like based on metadata from the metadata library          ferelll results. or the like. The combiner module 306 may
   314.                                                                   combine learned functions in different combinations. For
      111e predictive correlation module 318, in certain embodi- 35 example. the combiner module 306 may combine certain
   ments, is configured to harvest metadata regarding which               learned ftu1ctions horizontally or in parallel. joined at the
   features correlate to higher confidence metrics. to determine          inputs and at the outputs or the like. and may combine certain
   which feature was predictive of which outcome or result. or            learned functions vertically or in series, feeding the output of
   the like. lo one embodiment. the predictive correlation mod-           one learned function into the input of another learned func-
   ule 318 detennines the relationship ofa fcarurc's predictive 40 tion.
   qualities for a specific outcome or result based on each                  The combiner module 306 may deterLUiue which learned
   instance of a particular feature. ln other embodiments. the            functions to combine. how to combine learned fw1ctions. o r
   predictive correlation module 318 may detem1ine Lbe rela-              t.he like based on evaluatio11 metadata for the learned func-
   tionship ofa feature's predictive qualities based on a subset of       tions from the meradata library 314. generated based on an
   instances of a particular fean1re. For example. the predictive 45 evaluation of ihe learned functions using test data. as
   correlation modu le 318 may discover a correlation between             described below with regard to the function evaluator module
   one or more features and the confidence metric of a predicted          312. The combiner module 306 may request additional
   result by attempting different combinations of features and            learned functions from the function generator module 204.
   subsets of instances within an individual feature's dataset.           for combining with other learned functions. For example. the
   and measuring an overall impact on predictive quality. accu- so combiner module 306 may request a new learned functio11
   racy. confidence. or the like. The predictive correlation mod-         with a particular input and/or output to combine with an
   ule 318 may determine predictive features at various granu-            existing learned function. or the like.
   larities. such as per feature, per subset of fean1res. per                While thecombiningoflearned functions may be informed
   instance, or the like.                                                 by evaluation ruetadata for the learned functions. in certain
      In one embodiment. the predictive correlation module 318 ss embodiments, the combiner module 306 combines a large
   determines one or more features with a greatest contribution           number of learned functions pseudo-randomly. fonuing a
   to a predicted result or confidence metric as the predictive           large number of combined functions. For example. the com-
   compiler module 206 fonns the predictive ensemble 304.                 biner module 306. in one embodiment, may determine each
   based on evaJuation metadata from the metadata library 314,            possible combination of generated learned functions. as many
   or the Iike. For example. the predictive compiler module 206 60 combinations of generated learned ftmctions as possible
   may build one or more synthesized learned functions 324 that           given one or more limitations or constraints, a selected subset
   are configured to provide one or more features with a greatest         of combinations of generated learned functions. or the like,
   contribution as part of a result. In another embodiment. the           for evaluation by the function evaluator module 312. In cer-
   predictive correlation module 318 may detenuine one o r                tain embodiments. by generating a large number of combined
   more feanires with a greatest contribution to a predicted result 65 learned functions. the combiner module 306 is staristicalJy
   or confidence metric dynamically at runtime as the predictive          likely to form one or more combined learned functions that
   ensemble 304 determines the predicted result or confidence             arc useful and/or effective fo r the training data.




                                                                Appx30
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      In the depicted embodiment, the predictive compiler mod-           certain embodiments. the synthesizer module 310 organizes
   ule 206 includes an extender module 308. The extender mod-            learned functions by preparing the learned functions and the
   ule 308, in certain embodiments. is configured to add one or          associated evaluation metada ta for processing workload data
   more layers to a leamed function. For example. the extender           to reach a result. For example. as described below, the syn-
   module 308 may extend a learned function or combined 5 thesizer module 310 may organize and/or symhcsize Lhe syn-
   learned function by adding a probabilistic model layer. such          thesized learned functions 324 and the synthesized metadata
   as a Bayesian belief network layer. a Bayes classifier layer. a       mle set 322 for the orchestration module 320 to use to direct
   Boltzmann layer, or the like.                                         workload data through the synthesized learned functions 324
      Certain classes of learned fonctions, such as probabilistic        to produce a result.
   models. may be configured to receive either instances of one 10          Jn o ne embodiment. the functioo evaluator module 312
   or more features as inpul. or the output results ofother learned      evaluates the synthesized learned functions 324 that the syn-
   functions, such as a classification and a confidence metric. an       thesizer module 310 organizes. and the synthesizer module
   inferred function. a regression function, an answer, a pn..'<.lic-    310 synthesizes and/or urgani:tcs the synthcsi:tc<l mctadata
   tion. a recognized pattern. a mle. a recommendation. or the           mle set 322 based on evaluation metadata that the function
   like. The extender module 308 may use these types ofleamed 15 evaluation module 312 generates during the evaluation of the
   functions to extend other learned functions. The extender             synthesized learned functions 324. from the metadata library
   module 308 may extend learned functions generated by the              314 or tbe like.
   function generator module 204 directly. may extend com-                  In the depicted embodiment. the predictive compiler mod-
   bined learned functions from the combiner module 306. may             ule 206 includes a function evaluator module 312. The func-
   extend other extended learned functions, may extend synthe- 20 tion evaluator module 3 I 2 is configured to evaluate learned
   sized learned functions from the symhesizer module 310. or            functions using test data. or the like. The fuoction evaluator
   the like.                                                             module 312 may evaluate learued functions generated by the
      In one embodiment. the extender module 308 determines              function generator module 204. leamc..xl functions combined
   whlch learned fw1c1iuns Lo extend. how tu extern.I learned            by the combiner module 306 described above. learned func-
   functions. or the like based on evaluation metadata from the 25 tions extended by U1e extender module 308 described above.
   metadata library 314. The eX1ender module 308. in certain             combined extended learned functions. synthesized learned
   embodiments. may request one or more additional learned               functions 324 organized into the predictive ensemble 304 by
   functions from the function generator module 204 and/or one           the synthesizer module 310 described above. or the like.
   or more additional combined learned fonclions from the com-              Test data for a learned fonction. in certain embodiments,
   biner module 306, for the extender module 308 to extend            30 comprises a different subset of the initialization data for the
      While the extending oflearned functions may be informed            learned function than the function generator module 204 used
   by evaluation metadata for the learned fi.mctions, in certain         as training data. The function evaluator module 312, in one
   embodiments. the extender module 308 generates a large                embodiment. evaluates a learned function by inputting the
   nlllllber of extended learned functions pseudo-randomly. For          lest data into the learned function to produce a result, such as
   example. the extender module 308. in one embodiment. may 35 a classification. a confidence metric. an inferred function. a
   extend each possible learned function and/or combination of           regression function, an answer. a prediction. a recognized
   learned functions. may extend a selected subset of learned            pattern. a rule. a reconunendation. or another result.
   li.mctions. may extend as many learned functions as possible             Test data. in certain embodiments, comprises a subset of
   given one or more limitations or constraints. or the like. for        initialization data, with a feature associated with the
   evaluation by the function evaluator module 312. In cenain 40 requested result removed. so that the function evaluator mod-
   embodiments. by generating a large number of extended                 ule 312 may compare the result from the learned function to
   learued Jimctions. U1e extender module 308 is statistically           the instances of t11e removed feature to determine the accu-
   likely to fom1 one or more extended learned functions and/or          racy and/or effectiveness of the learned fw1ction for each test
   combined extended learned functions that are useful and/or            instance. For example. if a client 104 has requested a predic-
   effective for the training data.                                   45 tive ensemble 304 to predici whether a customer will be a
      ln the depicted embodiment, the predictive compiler mod-           repeat customer. and provided historical customer informa-
   ule 206 includes a synthesizer module 310. The synthesizer            tion as initialization data. the function evaluator module 312
   module 310. in certain embodiments. is configured to orga-            may input a test data set comprising one or more features of
   nize a subset oflearned functions into U1e predictive ensemble        the initialization data other than whether the customer was a
   304. as synthesized learned functions 324. In a funher so repeat customer into the learned function. and compare the
   embodiment. the synthesizer module 310 includes evaluation            resulting predictions to the initialization data 10 determine the
   metadata from the metadata library 314 of the function evalu-         accuracy and/or effectiveness of the learned function.
   ator module 312 in the predictive ensemble 304 as a synthe-              The function evaluator module 312. in one embodiment. is
   sized metadata rnle set 322. so that the predictive ensemble          configured to maintain evaluation metadata for an evaluated
   304 includes symhcsizcd learned functions 324 and cvalua- ss learned function in the metadata library 3 14. '11le evaluation
   lion meladata. the synthesized metadala nile set 322. for the         metadala, in certain embodiments. comprises log data gener-
   synthesized lcarued functions 324.                                    ated by the function generator module 204 while generating
      ll1e learned fonctions that the synthesizer module 3 l 0           learned functions, the function evaluator module 312 while
   synthesizes or organizes into the synthesized learued func-           evaluating learned functions, or the like.
   tions 324 of the predictive ensemble 304. may include learned 60         In one embodiment. the evaluation metadata includes indi-
   functions directly from the function generator module 204.            cators of one or more training data sets that the function
   combined learned functions from the combiner module 306.              generator module 204 used to generate a learned function.
   extended learned functions from the ex1ender module 308.              The evaluation metadata, in another embodiment, includes
   combioed extended learned functions. or the like. As                  indicators of one or more test data sets that the function
   described below-, in one embodiment. the function selector 65 evaluator module 312 used to evaluate a learned function. In
   module 316 selects the learned fonctions for the synthesizer          a further embodiment. the evaluation metadata includes indi-
   module 310 to include in UlC predictive ensemble 304. ln              cators of one or more decisions made by and/or branches




                                                              Appx31
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   taken by a learned flmction during an evaluation by the func-            classification may represent a predicted answer. and the asso-
   tion <::valuator modult: 312. Tut: t!Valuation mt:lailitta. in           ciatt:d confidt:nct: mt:lric may bt: an t:Slimatt:d slrt:ngth or
   another embodiment, includes the results detennined by a                 accuracy of the predicted answer. A classification, in certain
   learned function during au evaluation by the function evalu-             embodiments. may comprise a binary value (e.g.. yes or no).
   ator module 312. In one embodiment. the evaluation mctadata 5 a rating o n a scale (e.g.. 4 on a scale of I lo 5). or a.11olher data
   may include evaluation metrics. learning metrics. effective-             type for a feature. A confidence metric. in certain embodi-
   ness metrics. convergence metrics. or the like for a learned             ments, may comprise a percentage. a ratio, a rating on a scale,
   function based 011 an evaluation of the learned function. An             or another indicator of accuracy. effectiveness. and/or confi-
   evaluation metric, learning metrics, effectiveness metric,               dence.
   convergence metric, or the like may be based on a comparison lo              In the depicted embodiment, the predictive ensemble 304
   of the results from a learned function 10 actual values from             includes an orchestration module 320. The orchestration
   initialization data, and may be represented by a correctness             module 320. in certain embodiments, is configured to direct
   indicator for each t:valuat~'tl inslanct:. a pt:rccntagc, 11 mtio. or    workload data through lht: predictive ensemble 304 lo pro-
   the like. Different classes of learned functions, in certain             duce a result. such as a classification. a confidence metric. an
   embodiments. may have different types of evaluation meta- 15 inferred ftmction. a regression function. an answer. a predic-
   data.                                                                    tion. a recognized pattern. a rnle. a recommendation. and/or
      The metadata li brary 314. in one embodiment, provides                another result. In one embodiment. the orchestratio n module
   evaluation metadata for learned functions to the feature selec-          320 uses evaluation metadata from the function evaluator
   tor module 302, the predictive correlation module 318. the               module 312 and/or the metadata library 314. such as the
   combiner module 306. the extender module 308. and/or the 20 synthesized metadata rule set 322. to detem1ine how to direct
   synthesizer module 310. The metadata library 314 may pro-                workload data through the synthesized learned functions 324
   vide an API. a shared Iibrary. one or more function calls. or the        of the predictive ensemble 304. As described below with
   like providing access to evaluation metadata. The metadata               n.-gard to FIG. 8, in certain embodiments, the syntbesiLed
   librnry 314. in various t:illbudimt:nls. illay slur<:: or urniutaiu      illt:tadal<I rnlt: st:l 322 colllprist:s ;i st:l uf rult:S or couditious
   evaluation metadata in a database fonnat, as one or more flat 25 from the evaluation metadata oftl1e metadata library 314 that
   files. as one or more Jooln.1p tables. as a sequential log or Jog        indicate to the orchestration module 320 which features.
   file. or as 011e or more other data structures. In 011e embodi-          instances, or the like should be directed ro which synthesized
   melll. the metadata library 314 may index evaluation meta-               learned ftu1ction 324.
   data by learned function. by feature. by iJJStance, by training              For example. the evaluation metadata from the metadata
   data. by test data, by effectiveness, and/or by another category 30 library 314 may indicate which learned functions were
   or attribute and may provide query access to the indexed                 trained using which features and/or instances. how effective
   evaluation metadata. The functio11 evaluator module 312 may              different learned functions were at making predictions based
   update the metadata library 314 in respo11se to each evalua-             on different features and/or instances, or the like. The synthe-
   tion of a learned ftmction. adding evaluation metadata to the            sizer module 310 may use that evaluation metadata to deter-
   metadata library 314 or the like.                                     35 mine rules for the synthesized metadata rnle set 322, i.11dica1-
      The fonction selector module 316. in certain embodiments.             ing which features. which instances. or the like the
   may use evaluation metadata from the metadata library 314 to             orchestration module 320 the o rchestration module 320
   select learoed fu.11ctions for the combiner module 306 to com-           should di rect tlU"ough which learned functions. in which
   bine. for the extender module 308 to extend. for the synthe-             order. or the like. The synthesized metadata ruJe set 322. in
   sizer module 310 to include in the predictive ensemble 304. o r 40 one embodiment. may comprise a decision tree or other data
   che like. For example. in one embodiment, the function selec-            strucrure comprising rules which the orchestration module
   tor module 316 may select learned functions based on evalu-              320 may follow to direct workload data through the synthe-
   ation metrics. teaming metrics, effectiveness metrics, conver-           sized learned functions 324 of the predictive ensemble 304.
   gence metrics. or the like. In another embodiment. the                       FIG. 4 depicts one embodiment of a system 400 for a
   function selector module 316 may select learned functions for 45 predictive analytics factory. The system 400. in the depicted
   the combiner module 306 to combine and/or for the extender               embodiment. includes several clients 104 in communication
   module 308 to extend based on features of training data used             with a predictive analytics module 102 over a data network
   co generate the learned ftmctio11s. or the like.                         106. substalllially as described above with regard lo FIG. 1.
      The predictive ensemble 304 , in certain embodiments. pro-            The predictive analytics module 102 ofFlG. 4 is substantially
   vides predictive results for an analysis request by processing 50 similar to the predictive analytics module 102 of FIG. 3. but
   workload data of the analysis request using a plurality of               further includes an interface module 402. a predictive analyt-
   learned functions (e.g .. the synthesized learned functions              ics factory 404. and a data repository 406.
   324). As described above. results from the predictive                        The interface module 312. in certain embodiments. is con-
   ensemble 304. in various embodiments. may include a clas-                figured to receive requests from clients 104. to provide results
   sification, a confidence metric, an inferred function, a reg.res- ss to a c lient I 04. or the like. The interface module 3 12 may
   sion Jimctioo. au answer. a prediction. a recogn.ized pattern, a         provide a predictive analytics i.11terface to clients 104, such as
   rule. a recolllillendation. and/or another result. For example.          an APL a shared library. a hardware command interface. or
   in one embodiment, the predictive ensemble 304 provides a                the like, over which clients 104 may make requests and
   classification and a confide11ce metric for each instance of             receive results. The interface module 312 may support new
   workload data input into the predictive ensemble 304. or the 60 ensemble requests from clients 104. allowing clients 104 10
   like. Workload data, in certain embodiments. may be substan-             request generation of a new predictive ensemble from the
   tially similar to test data. but the missi11g feature from the           predictive analytics factory 404 or the like. As described
   initialization data is not known. and is to be solved for by the         above. a new ensemble request may include ini tialization
   predictive ensemble 304. A classification. in certain embodi-            data: one or more ensemble parameters: a feature. query.
   ments. comprises a value for a missing feature in an instance 65 question or the like for which a client 104 would like a
   of workload data. such as a prediction. an ans\Yer, or the like.         predictive ensemble 304 to predict a result: or the like. The
   For example. iftl1e missing feature represents a question. the           interface module 312 may support analysis requests for a




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   result from a predictive ensemble 304.As described above. an        module 310 are each in conuuunication with both die func-
   llillllysis r~uest may include workload data: a foa111re. 4uery.    tion generntur module 204 and the function evaluatur module
   question or the like; a predictive ensemble 304: or may             312. The function generator module 204, as described above.
   include other analysis parameters.                                  may generate an initial large amount of learned functions.
       In certain embodimenls. the predictive analytics module 5 from di fferem classes or the like. which the function evaluator
   102 may maintain a library ofgenerated predictive ensembles         moduJe312 evaluates using test data sets from thedata reposi-
   304. from which clients 104 may request results. In such            tory 406. The combiner module 306 may combine different
   embodiments. the interface module 402 may return a refer-           learned functions from the function generator module 204 to
   ence. pointer. or other identifier of the requested predictive      form combined learned functions. which the function evalu-
   ensemble 304 to the requesting client 104. which the client 10 ator module 312 evaluates using test data from the data
   104 may use in analysis requests. In another embodiment. in         repository 406. The combiner module 306 may also request
   response to the predictive analytics factory 404 generating a       additional learned functions from the function generator
   predictive ensemble 304 to satisfy a new ensemble n.-quest.         module 204.
   the interface module 402 may return the actual predictive              The extender module 308. in one embodiment. extends
   ensemble 304 to the client 104, for the client 104 to manage. 15 learned functions from the function generator module 204
   and the cliem 104 may include the predictive ensemble 304 in        and/or the combiner module 306. The extender module 308
   each ana lysis request.                                             may a lso request additional learned functions from the func-
       The interface module 312 may cooperate with the predic-         tion generator module 204. The function evaluator module
   tive analytics factory 404 to service new ensemble requests.        312 evaluates the extended learned functions using test data
   may cooperate with the predictive ensemble 304 to provide a 20 sets fmm the data repository 406. The synthesizer module
   result to an analysis request. or the like. The predictive ana-     310 organizes. combines. or otherwise synthesizes learned
   lytics factory 404, in the depicted embodiment. includes the        functions from the function generator module 204. the com-
   function generator module 204. the feature selector module          biner module 306, and/or the extender module 308 into syn-
   302. the predictive correlatio11111oduJe 318. aud the predictive    thesiLed learned functions 324 fur the predictive euse111ble
   compiler module 206. as described above. The predictive 25 304. 111e function evaluator module 312 evaluates the syn-
   analytics factory 404. in the depicted embodiment. also             thesized learned functions 324. and the synthesizer module
   includes a data repository 406.                                     310 organizes or synthesizes the evaluation metadata from
       The data repository 406. in one embodiment. stores initial-     the metadata library 314 in10 a synthesized metadata rnle set
   ization data. so that the function generator module 204. the        322 for the synthesized learned functions 324.
   feature selector module 302. the predictive correlation mod- 30        As described above. as the function evaluator module 312
   ule 318, and/or the predictive compiler module 206 may              evaluates learned functions from the fi.mction generator mod-
   access the initialization data to generate. combine, extend.        ule 204. the combiner module 306. the extender module 308,
   evaluate, and/or synthesize learned functions and predictive        and/or the synthesizer module 310. the function evaluator
   ensembles 304. Tue data repository 406 may provide initial-         module 312 izenerates evaluation meladala for the learned
   ization data indexed by fean1re. by instance. by training data 35 functions and stores the evaluation metadata in the metadata
   subset. by test data subset. by new ensemble request. or the        library 314. In the depicted embodiment, in response to an
   like. By maintaining initialization data in a data repository       evaluation by the function evaluator module 312. tbe function
   406. in certain embodiments. the predictive analytics factory       selector module 3.16 selects one or more learned functions
   404 ensures that the initialization data is accessible through-     based on evaluation metadata from the metadata library 314.
   out the predictive ensemble 304 building process. for the 40 For example. the fi.tnction selector module 316 may select
   function generator module 204 to generate learned functions.        learned functions for the combiner module 306 to combine.
   for the fearure selector module 302 to determine which fea-         for the extender module 308 to extend. for the synthesizer
   tures should be used in the predictive ensemble 304. for the        module 310 to synthesize. or the like.
   predictive correlation module 318 to determine which fea-              FIG. 5 depicts one embodiment 500 of learned functfons
   tures correlate with the highest confidence metrics, for the 45 502. 504, 506 for a predictive ensemble 304. The learned
   combiner module 306 to combine learned functions. for the           functions 502. 504, 506 are presented by way ofexample. and
   extender module 308 to extend learned functions. for the            in other embodiments. other types and combinations of
   function evaluator module 312 to evaluate learned functions.        learned functions may be used. as described above. Further. in
   for the synthesizer module 310 to synthesize teamed func-           other embodiments, the predictive ensemble 204 may include
   tions 324 and/or metadata rule sets 322. or the like.            so an orchestration module 320, a synthesized metadata rule set
       Jn the depicted embodimen1, the data receiver module 202        322. or the like. Jn one embodiment. the function generator
   is integrated with the interface module 402. to receive initjaJ-    module 204 generates the learned fllilctions 502. The learned
   ization data. including training data and test data. from new       functions 502. in the depicted embodiment. include various
   ensemble requests. The data receiver module 202 stores ini-         collections of selected learned functions 502 from diJferent
   tiali1ation data in the data repository 406. The function gen- ss classes including a collection of decision trees S02a. config-
   erator module 204 is in collllllunication with the data reposi-     ured lo receive or process a subset A-F ofthe feature set oft he
   tory 406, in one embodiment. so that the functjon generator         predictive ensemble 304. a collection of support vector
   module 204 may generate learned functions based on training         machines ("SVMs") 502b with certain kernels and with an
   data sets from the data repository 406. The feature selector        input space configured with particular subsets of the feature
   module 202 and/or the predictive correlation module 318. in 60 set G-L, and a selected group of regression models 502c. here
   certain embodiments, may cooperate with the function gen-           depicted as a suite of single layer ("SL") neural nets trained
   erator module 204 and/or the predictive compiler module 206         on certain feature sets K-N.
   to detennine which features to use in the predictive ensemble          Tue example combined learned functions 504. combined
   204. which features are most predictive or correlate with the       by 1l1e combiner module 306 or the like. include various
   highest confidence metrics. o r the like.                        65 instances of forests of decision trees 504a configu.red to
       Within the predictive compiler module 206. the combiner         receive or process fearures N-S. a collection of combined
   module 306. the extender module 308. and the synthesizer            trees with support vector machine decision nodes 504b with




                                                             Appx33
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   specific kernels. their parameters and the features used to            ing client I 04. such as the predictive ensemble. a reference to
   define the input spaci.: of features T-U. as well as combined          the predictive ensemble. an ackno\\ lcdgment. or the like. and
   functions 504c in the form of trees with a re<>.;-ession decision      the interface module 402 continues to monitor 702 requests.
   at the root and linear, tree node decisions at the leaves. con-           If the interface module 402 receives 702 an analysis
   figured to receive or process features L-R.                          5 request. the data receiver module 202 nx:eives 732 workload
      Component class extended learned functions 506.                     data associated with the analysis request. The orchestration
   extended by the extender module 308 or the like. include a set         module 320 directs 734 the workload data through a predic-
   of extended functions such as a forest of trees 506a with tree         tive ensemble 304 associated with the received 702 analysis
   decisions at the roots and various margin classifiers along the        request to produce a result, such as a classification, a confi-
   branches, which have been extended with a layer of Boltz- 10 deuce metric. an inferred function. a regression function. au
   mann type Bayesian probabilistic classifiers. Extended                 answer, a prediction. a recognized pattern. a rule, a recom-
   learned function 506b includes a tree with various regression          mendation. and/or another result. The interface module 402
   dL'Cisions at the roots. a combination of standard lr.:e 504b          provides 730 the produced result to the requesting client 104.
   and regression decision tree 504c and the branches are                 and the interface module 402 continues to monitor 702
   extended by a Bayes classifier layer trained with a particular 15 requests.
   training set exclusive of those used to train the nodes.                  FIG. 8 depicts one embodiment of a method800 for direct-
      FJG. 6 depicts one embodiment of a method 600 for a                 ing data through a predictive ensemble. Tue specific synthe-
   predictive analytics factory. The method 600 begins. and the           sized metadata ru le set 322 of the depicted method 800 is
   data receiver module 202 receives 602 training data. The               presented by way of example only. and many other rules and
   function generator module 204 generates 604 a plurality of 20 mle sets may he used.
   learned functions from multiple classes based on the received             A new instance of work.load data is presented 802 to the
   602 training data. The predictive compiler module 206 forms            predictive ensemble 304 through the interface module 402.
   606 a predictive ensemble comprising a subset of learned               The data is proccssL'CI through tbe data receiver module 202
   ftrnctious from at least I\\ o classes. <rnd tile rnclllud 600 cuds.   and cuufi~ure<l for the particular <rnalysis rc4ucst as iuitiatcd
      FlG. 7 depicts another embodiment of a method 700 for a 25 by a client 104. Jn this embodiment the orchestration module
   predictive analytics factory. The method 700 begins. and the           320 evaluates a certain set offeatures associates wi th the data
   interface module 402 monitors 702 requests until U1e inter-            instance against a set ofiliresholds contained witilln the syn-
   face module 402 receives 702 an analytics request from a               thesized metadata rule set 322.
   client 104 or the like.                                                   A binary decision 804 passes the instance lo. in one case. a
      1f the interface module 402 receives 702 a new ensemble 30 certain combined and ex1ended function 806 configu.red for
   request, the data receiver module 202 receives 704 training            features A-For in the other case a difTerent, parallel combined
   data for the new ensemble. as initialization data or the like.         function 808 configured to predict against a feature set G-M.
   The function generator module 204 generates 706 a plurality            Jn the first case 806. if the output confidence passes 810 a
   of learned functions based on the received 704 train in!!, data.       certain threshold as p.iven by the meta-data rule set the
   from different predictive analytics classes. 111e function 35 instance is passed to a synthesized. extended regression func-
   evaluator module 312 evaluates 708 the plurality of generated          tion 814 for final evaluation, else the instance is passed to a
   706 learned functions to generate evaluation metadata. The             combiued collection 816 whose outpui is a weighted voted
   combiner module 306 combines 710 learned functions based               based processing a certain set of features. In the second case
   on the metadata from the evaluation 708. The combiner mod-             808 a different combined fonction 812 with a simple vote
   ule 306 may request that the function generator module 204 4 0 output results in the instance being evaluated by a set of base
   generate 712 additional learned functions for the combiner             learned functions extended by a Boltzmann type extension
   module 306 to combine.                                                 818 or. if a prescribed threshold is meet the outplll of the
      The function evaluator module 312 evaluates 714 the com-            synthesized function is the simple vote. The interface module
   bined 710 learned functions and generates additional evalu-            402 provides 820 the result of the orchestration module
   ation metadata. The extender module 308 extends 716 one or 45 directing workload data through the predictive ensemble 304
   more learned functions by adding one or more layers to the             to a requesting client 104 and the meth od 800 continues.
   one or more learned functions. such as a probabilistic model              The present disclosure may be embodied in other specific
   layer or the like. Jn certain embodiments. the extender module         forms without departing from its spirit or essential character-
   308 extends 716 combined 710 learned functions based on the            istics. 1l1e described embodiments are to be considered in all
   evaluation 712 of the combined learned limctions. The so respects only as illustrative and not restrictive. "!be scope of
   extender module 308 may request that the function generator            the disclosure is. therefore, indicated by the appended claims
   module 204 generate 718 additional learned functions for the           rather than by the foregoing description. All changes which
   extender module 308 to extend. The function evaluator mod-             come within the meaning and range of equivalency of the
   ule 312 evaluates 720 the extended 716 learned functions.              claims are to be embraced within their scope.
   The function selector module 316 sck'Cts 722 at least two ss              What is claimed is:
   learned functions, such as the generated 706 learned func-                1. A.n apparat1.1s for a predictive analytics factory. the appa-
   tions. the combined 710 learned functions, the extended 716            ratus comprising:
   learned functions, or the like. based on evaluation meradata              a receiver module config1.1red ro receive training data for
   from one or more of the evaluations 708. 714. 720.                           forming a predictive ensemble customized for the train-
      The synthesizer module 31 O synthesizes 724 U1c selected 60               ing data:
   722 learned functions inro synthesized learned ftmctions 324.             a fw1ction generator module configured to pseudo-ran-
   The ftmction evaluator module 312 evaluates 726 the synthe-                  domly generate a plurality oflearned fonctions based on
   sized learned functions 324 to generate a synthesized meta-                  the training data without prior knowledge regarding suit-
   data rule set 322. The synthesizer module 310 organizes 728                  ability oftbc generated learned ftmctions for tbe training
   the synthesized 724 learned functions 324 and me synthe- 65                  data:
   sized metadata rnle set 322 into a predictive ensemble 304.               a function evaluator module config1.1red to perform an
   The interface module 402 provides 730 a result to the request-               evaluation of the plurality ofleamcd functions using test




                                                               Appx34
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        data and to maintain evaluation metadata for the plural-            1 1. The apparants of claim 1. wherein Llie predictive com-
         ity of teamed fimctions. the evaluation metadata com-           piler is configured to forn1 the predictive ensemble by orga-
         prising one or more of an indicator of a training data set      nizing the subset of learned functions into the predictive
         used 10 generate a learned function and an indicator of         ensemble. the predictive ensemble comprising the subset of
         one or more decisions made by a learned function during 5 learned functions and the rule set synthesized from the evalu-
         the evaJuation; and                                             ation metadata for the subset oflearned functions.
      a predictive compiler module configured 10 form the pre-              12.111c apparatus of claim I . further comprising an orches-
         dictive ensemble. the predictive ensemble comprising a          tration module configured to direct workload data through the
         subset ofmultiple learned functions from the plurality of       predictive ensemble based 011 Llie evaJuation metadata data to
          learned functions. the multiple learned functions to produce a classificatiou for the workload data and a coufi-
         selected and combined based on the evaluation metadata          dence metric for the classification. the evaluation metadata
         for the plurality of learned functions. the predictive          synthesized to form the mle set for the subset of learned
         ensemble comprising a mle set synthesized from the              functions.
         evaluation metadata to direct data through the multiple 15         13. The apparat11s of claim 1. further comprising au inter-
          learned funct ions such that different learned functions of    face module con.figttred to receive an aualytics request from a
         the ensemble process different subsets of the data based        client and to provide an analytics result to tl1e client. the
         on the evaluation metadata.                                     analytics request comprising workload data with similar fea -
      2. The apparat\ls of claim 1. further comprising a feature         tures 10 the training data. the anaJytics result produced by the
   selector module configured to. in response to the fonction 20 predictive ensemble.
   generator module determining the plurality of learned func-              14. A method for a predictive analysis factory. the method
   tions. determine a subset offeanires from the training data for       comprising:
   use in the predictive ensemble based on lhe e\'aluat ion meta-           pseudo-randomly generating a plurality of learned func-
   tlata. Llw prooktiw compiler mutluJe cmtfigure<.l tu form the               tions basoo ou lrniniug data without prior kuuwletlge
   predictive ensemble using the selected subset offeatures.          25       regarding suitability of the generated learned functions
      3. The apparatus of claim 2. wherein the feature selector                for the training data. the training data received for form-
   moduJe is configured 10 iteratively increase a size of the                  ing a predictive ensemble customized for the training
   subset of features until a subsequent increase in the size fails            data:
   to satisfy a feature elTectiveness threshold.                            evaluating the plurality oflearned fonctions using test data
      4. The apparat11s of claim 2, wherein one or more of the 30              to generate evaluation metadata indicating an effective-
   features of the training data are selected by a user as required            ness of difTerent leamed functions at making predictions
   and the feature selector moduJe is configured to select one or              based on different subsets of the test data: and
   more optiooaJ features to include in the subset offeantres with          forming the predictive ensemble comprising a subset of
   the required one or more features.                                          multiple learned functions from the plurality oflcarned
      5. The apparatus ofclaim L wherein the function evaluator 35             functions. the subset of multiple learned functions
   module is configttred to perfonn the evaluation of the plural-              selected and combined based on the evaluation meta-
   ity of learned functions usiug test data by inputti ng the test             data, the predictive ensemble comprising a m le set syn-
   data into the plurality oflearned functions to output the one or            thesized from the evaluation metadata to direct different
   more decisions.                                                             subsets of the workload data through ditfereut learned
      6. The apparams ofclaim 5. wherein the fimction evaluator 40             funct ions of the multiple learned fimctions based on the
   module is configured to maintain the evaluation metadata for                evaluation metadata.
   each evaluated learned functiou in a metadata library. the               15. The mell1od of claim 14. further comprising synthesiz-
   predictive compiler module configured to include the rule set         ing the evaluation metadata into a rule set for the subset of
   in the predictive eDSemble. the ruJe set comprising at least a        learned functions, wherein forming the predictive ensemble
   portiou of the evaluatiou metadata.                                45 forther comprises including the rule set iu the predictive
      7. The apparan1s of claim 6, wherein the evaluation meta-          ensemble.
   data further comprises one or more of the training data. clas·           1 6. The method ofclaim 14, wherein forming the predic-
   sificatiou metadata, convergence metrics. and efficacy met-           tive ensemble comprises one or more of:
   rics for the plurality oflearned fhnctjollS.                             combining learned functions from the plttraJity of learned
      8. ll1e apparat\ls of claim 1. wherein the predictive com- so            fuuctions to fom1 a combined learned function: and
   piler module is configi.tred to combine learned functions from           adding one or more layers to a learned function from the
   the plttrality of learned functions to form combined learned                plurality of learned fimctions to form an extended
   functions. the predictive ensemble comprising at least one                  learned function.
   combined learned function.                                               17. A computer program product comprising a non-transi-
      9. The apparatus ofclaim 8. wherein the function generator ss tory computer readable storage medium storing computer
   module is configured to detem1ine one or more additional              usable program code executable to perform operations for a
   learned functjons in response to a learned function request.          predictive analysis factory. the opcratious comprising:
   the predictive compiler module configured to request one or              pseudo-randomly detenuining a plurality of learned func-
   more additional learned functious from the function genera-                 tious using training data without prior knowledge
   tor 10 combine with learned ftmctions from Ll1e plurality of 60             regarding suitability of the detcrn1ined learned functions
   learned functions.                                                          for the training data, the training data comprising a plu-
      10. The apparatus of claim 1, wherein the predictive com-                rality of features. the training data received for forming
   piler module is config11red to add one or more layers to at least           a predictive ensemble customized for the training data;
   a portion of the plurality oflearned functions to form one or            selecting a subset oft he features of the training data based
   more exteuded learned functions, at least one of the one or 65              on evaJuatiou metadata geuerated for the p luraJity of
   more layers comprising a probabilistic model. the predictive                learned functions. the evaJuation metadata comprising
   ensemble comprising at least one extended learned function.                 an effectiveness metric for a learned function; and




                                                              Appx35
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      forming the predictive ensemble. the predictive ensemble             22. The computer program product of claim 17, wherein
         comprising at least two learned functions from the plu-        one or more ofthe features oft he training data are selected by
         rali ty ofleamed fonctions. the at least two learned func-     a user as required for inclusion in the subset of features.
         tions using the selected subset of features. the al least         23. A predictive analytics ensemble comprising:
         two learned functions selected and combined based on 5            multiple learned functions syntJlcsized from a larger plu-
                                                                              rality of teamed functions. Ille multiple learned func-
         the evaJuation metadata, the predictive ensemble com-
                                                                              tions selected and combined based on evaluation meta-
         prising a mlc set syntJlcsizcd from the evaluation mcta-
                                                                              data for an evaluation of the larger plurality of learned
         data to direct data through the at least two learned func-           functjons. wherein the larger plurality of learned func-
         tions so that different learned functions process different          tions are generated pseudo-randomly from training data
         feamres of the selected subset of feanires.                 10
                                                                              without prior knowledge of a suitability of tl1e larger
      18. The computer program product of claim 17, wherein                   plurality oflearned fimctions for the training data;
   the operations further comprise evaluating ilie plurality of            a metadata mlc set synthesized from the evaJuation meta-
   learned functions using test data to generate the evaJuation               data for UlC plurality of learned fm1ctions for directing
   metadata.                                                                  data through different leanled functions of the multiple
                                                                     15       learned functions to produce a result: and
      19. The computer program product of claim 18, wherein
                                                                           an orchestration module configured to direct the data
   evaluating t1le plurality oflearned functions comprises gen-               through Ule different learned fimctions of tbe multiple
   erating a predictive ensemble for each possible combination                learned functions based on the synthesized metadata
   of features oftJle training data and evaluating each generated             rule set to produce the resuJt.
   predictive ensemble using Ule test data.                          20    24. The predictive analytics ensemhle of claim 2~. further
      20. The computer program product of claim 17. wherein             comprising a predjctive correlation module configured to cor-
   the operations further comprise iteratively increasing a size of     relate one or more features of the muJriple learned fimctions
   the subset of features until a subsequent increase in the silc       with a confidence metric associated with the result.
   fails to satisfy a feature effectiveness threshold.                     25. The pretlictiw analytics ensemble uf dairn 24. whereiu
      21 . T he computer program product of claim 17, wherein 25 the predictive correlation module is configured to provide a
   the operations further comprise identifying one or more of the       listing of the one or more features correlated with the result to
                                                                        a client.
   plurality offearurcs as noisy and excluding the noisy features
   from the selected subset of feanires.                                                        * * * * *




                                                              Appx36
